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                           CASE LEROY,
                       Plaintiff - Appellant,
                                  v.
   LIVINGSTON MANOR CENTRAL SCHOOL DISTRICT,
JOHN P. EVANS, in his capacity as Superintendent of Schools of
         Livingston Manor Central School District,
                     Defendants - Appellees.


        On Appeal from the United States District Court
for the Southern District of New York, 7:21-cv-06008-NSR-AEK

       OPENING BRIEF AND SPECIAL APPENDIX
            OF APPELLANT CASE LEROY


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           Corporate Disclosure Statement (FRAP 26.1)
     Pursuant to the disclosure requirements of Federal Rule of
Appellate Procedure 26.1, Case Leroy, declares that he is an individual
and, as such, is not a subsidiary or affiliate of a publicly owned
corporation and there is no publicly held corporation that owns ten
percent or more of any stock issued by him.




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     Statement of Subject Matter and Appellate Jurisdiction
      The district court had removal jurisdiction based on the federal
question presented in the complaint. 28 U.S.C. §§ 1331, 144l(a). Plaintiff
Case Leroy's state-court complaint alleged a violation of his
constitutional rights under 42 U.S.C. § 1983. A-2l-22.1 Defendants'
subsequent timely removal to federal court invoked the district court's
jurisdiction under 28 U.S.C. § l44l(a). A-l5.
      This Court has appellate jurisdiction under 28 U.S.C. § 1291. On
April 8, 2024, the district court entered judgment. SPA-22. Plaintiff Case
Leroy filed a timely notice of appeal on May 3, 2024. A-547; Fed. R. App,
p. 4(a)(l)(A)~




     1 "A" indicates the joint appendix for this appeal and "SPA"
indicates the special appendix appended to this brief. "Dkt." indicates
docket entries in the underlying district-court case, No. 7:2l-cv-06008-
NSR-AEK (S.D.N.Y.). The original state-court action in Supreme Court,
Sullivan County is indexed as E202l-968. Its docket can be accessed
through the New York State Unified Court System portal at
https://iapps.courts.state.ny.us/webcivil/FCASMain.

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                        Statement of the Issues
     l.   Public schools have diminished leeway to discipline student
speech that occurs off campus, on social media, and on the students' own
time, especially when that speech is not directed toward the school. Et.,
Mahanoy Area Sch. Dist. U. B.L, 594 U.S. 180 (2021); C1.G ex rel. C.G. U.
Siegfried, 38 F.4th 1270 (loth Cir. 2022). Here, Defendants disciplined
Plaintiff Case Leroy for a fleeting posting of a photograph, made off school
grounds, on Leroy's own time, using his personal cell phone and his
personal Snapchat account. Neither the photo nor the post was in any
way directed toward or related to the school, its students, or school staff.
Yet the district court held that a "barrage of emails" from upset
community members, classroom discussion, and an in-school assembly
followed by a school-approved 9-minute kneeling student protest together
constituted a "substantial disruption" justifying the school's punishment
of Leroy. SPA-17-18.
     The issue presented is whether the district court erred as a matter
of law in concluding that Leroy's speech was unprotected under the First
Amendment, and therefore in granting summary judgment to
Defendants and denying summary judgment to Leroy.
     Standard of Review: This Court reviews a decision granting
summary judgment de novo. Friend U. Gasparino, 61 F.4th 77, 84 (2d
Cir. 2023). "Summary judgment is warranted only upon a showing that
there is no genuine dispute as to any material fact and the movant is

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entitled to judgment as a matter of law." Id. (internal quotation omitted).
The court should "resolve all ambiguities and draw all permissible
inferences in favor of the party against whom summary judgment is
sought." Id. (internal quotation omitted). "Only where the record taken
as a whole could not lead a rational trier of fact to find for the non-moving
party is summary judgment appropriate." Id. (internal quotation
omitted). The same standard applies to cross-motions. Wondering Dago,
Inc. U. Destito, 879 F.3d 20, 30 (2d Cir. 2018); Terwilliger U. Terwilliger,
206 F.3d 240, 244 (2d Cir. 2000).
     In First Amendment cases in particular, this Court reviews the
"core constitutional facts," such as the nature of the speech, the
government's interests, and so on, de novo. AJ-I. U. French, 985 F.3d 165,
175-76 (2d Cir. 2020).
     2.    Viewpoint-based      discrimination      on    private speech is
"prohibited" by the First Amendment. Et., Minnesota Voters Alliance U.
Mansky, 585 U.S. l, II (2018); Wondering Dago, 879 F.3d at 24. One
example of impermissible viewpoint discrimination is when a school
official applies a facially neutral rule in a viewpoint discriminatory way.
Peck U. Baldwinsville Cent. Sch. Dist., 426 F.3d 617, 631-33 (2d
Cir. 2005); Collins U. Putt, 979 F.3d 128, 145 (2d Cir. 2020) (Menashi, J.,
concurring in the judgment). If the government adopts and acts on the
views of those objecting to offensive speech, that too constitutes viewpoint
discrimination. See Masterpiece Cake Shop U. Colo. Civ. Rts. Comm'n, 584

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U.S. 617 (2018); Amidon U. Student Ass'n. of SUNYAlbany, 508 F.3d 94,
102 (2d Cir. 2007). Here, the comments and actions of Defendants reveal
that the imposition of punishment on Leroy was based on school
administrators' and community members' perception of Leroy's speech as
expressing racially offensive and insensitive views.
     The issue presented is whether, even if the punishment satisfies
Mahanoy's "substantial disruption" standard, Defendants nevertheless
violated Leroy's First Amendment rights by imposing discipline based on
their perception of his viewpoint.
     Standard of Review: Summary judgment decisions are reviewed
de novo. Friend, 61 F.4th at 84. This Court reviews the "core
constitutional facts," such as whether defendants have discriminated
based on viewpoint, de novo. A.I-I., 985 F.3d at 175-76.




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                           Statutes and Rules

42 U.S.C. § 1983. Civil action for deprivation of rights

     Every person who, under color of any statute, ordinance, regulation,
     custom, or usage, of any State or Territory or the District of
     Columbia, subjects, or causes to be subjected, any citizen of the
     United States or other person within the jurisdiction thereof to the
     deprivation of any rights, privileges, or immunities secured by the
     Constitution and laws, shall be liable to the party injured in an
     action at law, suit in equity, or other proper proceeding for redress,
     except that in any action brought against a judicial officer for an act
     or omission taken in such officer's judicial capacity, injunctive relief
     shall not be granted unless a declaratory decree was violated or
     declaratory relief was unavailable. For the purposes of this section,
     any Act of Congress applicable exclusively to the District of
     Columbia shall be considered to be a statute of the District of
     Columbia.

First Amendment, United States Constitution

     Congress shall make no law            abridging the freedom of speech....

Fourteenth Amendment, United States Constitution

     Section l.
        No state shall make or enforce any law which shall abridge the
     privileges or immunities of citizens of the United States; nor shall
     any state deprive any person of life, liberty, or property, without
     due process of law....




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                          Statement of the Case
    This is an appeal from the district court's order granting
Defendants Livingston Manor Central School District and its
superintendent John P. Evans' motion for summary judgment and
denying Plaintiff Case Leroy's motion for summary judgment. SPA-l.
The decision is only reported electronically, by LexisNexis at 2024 U.S.
Dist. LEXIS 64182 and by Westlaw at 2024 WL 1484254 (S.D.N.Y. Apr.
5, 2024).

    A.      Livingston Manor senior Case Leroy posts a photo and a
            caption on his personal Snapchat account, and deletes
            it seven minutes later.
     Case Leroy is a private in the United States Army and 202 l
graduate of Livingston Manor High School, A-34, where he participated
in the school's "special education" program because of several disabilities.
A-284. Until the events of this case, Leroy was a student without a
disciplinary history. A-464. He engaged thoughtfully on current events,
writing an essay for a senior-year class on public safety concluding that
the officers in the George Floyd case had used excessive force and that
Derek Chauvin "deserved jail time." A-537.
     On April 19, 2021, while still a Livingston Manor student, Leroy
was socializing with three friends after school hours, away from school
property. A-l93. The four were in a dance studio parking lot to pick up
Leroy's friend's sister. A-l93-94. While there, one friend told Leroy that


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there had been a noise coming from his car on the drive over and Leroy
laid on the ground in front of the car to investigate. A-37. While he was
there, another friend knelt on Leroy's back and had the third friend take
a picture. Id.
     The three friends each posted the picture to their personal
Snapchat accounts, with Leroy adding the caption, "Cops got another."
A-110-12, A-267.




      Another posted the same image but with a "Black Lives Matter"
logo overlayed. A-203. Upon receiving several disapproving private

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messages on the Snapchat platform, Leroy deleted his post and asked the
others to do the same, which they did. A-ll6. A11 told, the images were
accessible to others for around seven minutes. A-95.

    B.    Leroy's former girlfriend, who also attended Livingston
          Manor, conducts a cancellation campaign against Leroy,
          and the school district responds by immediately
          suspending Leroy.
     Within the seven minutes that the posts were available, a fellow
Livingston Manor student, Leroy's former girlfriend, "Grace" (referred to
as "Student F" in administrative proceedings), captured a screenshot
Leroy's post, and reposted it on Facebook and other online platforms to
"condemn" Leroy. A-386; see also A-38. Apparently to amplify any public
response, Grace also jointly posted another, out-of-context photo of two
other Livingston Manor students taken by Leroy in March of 2021. A-
386.2 An activist, Gem Amber Sun Helper reposted the images with


      2 The second photo, taken by Leroy a month prior on March 25th,
features a friend from his public safety program demonstrating a hold
they learned on another friend who requested that the other student
show him. A-460. Leroy did not publicly post this photograph to social
media, but shared it with the other students through Snapchat private
messaging. Id. However, Grace received the photo directly-through a
friend a few weeks before the April l 9th incident-and posted it publicly
for the first time on Facebook along with the later photo. A-386. The
state court later concluded about this earlier image, "[t]here is no reason
to believe that that was intended to be part of or otherwise was a basis
for [the] punishment here which deals with April l 9th incident." A-586;

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commentary asserting that Livingston Manor "surpassed its dark history
of being a Sundown Town with its own KKK Chapter." A-332, A-357.
Helper or a later commentator shared this post and the phone number
for Livingston Manor Central school, telling viewers to "dm" direct or
private message her for additional contact information. A-357.




accord A-467, A-470 (superintendent acknowledging that charges arose
out of allegation of "post[ing] racially offensive material on social 1nedia") ,
compare also A-488-89 with A-491-92. The district court also predicated
its analysis only on the April l 9th photo. SPA-2-5.

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     Grace and Helper's tactics had the apparently-intended effect
against Leroy. Several individuals emailed their disapproval to John
Evans, Livingston Manor's Superintendent, who responded with brief
remarks about an ongoing investigation and disavowing racism in the
school. Et., A-310. The school's principal, Shirlee Davis, and its guidance
counselor, Meagan Edwards, also received similar emails. E.g., A-313, A-
341. Other school administrators also received emails-an addendum to
this brief catalogs all emails and school administration responses
contained in the record. The record discloses a total of 23 email exchanges
between community members and school district employees. Add. l,
Table l.
     The following morning, Davis instructed Leroy not to attend school
but to instead attend a meeting with his parents before her and Evans.
During the meeting, Davis and Evans interviewed Leroy about the
incident. A-504. On April 21, Davis sent a letter to Leroy's parents
informing them that she was suspending Leroy for five days, the
maximum permissible under state law without a hearing, for "post[ing]
racially offensive material on social media..." and referring the matter to
Evans to determine whether such a hearing and additional punishment
was warranted. A-380.
     Based on a "buzz up the building" and rumors of a student protest
in response to the Snapchat posts, Evans scheduled a brief assembly for
seventh through twelfth grades "kind of as a counter measure to that."

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A-278. At the assembly, Evans preached to the students that racism had
no place in their school. A-279. The entire assembly took about 15 to 20
minutes. A-279. A few students stayed afterward for "a few minutes" for
a supervised kneeling protest. A-279 & A-284; see also A-40, A-505.
     The same day, Evans contacted Capital Region Board District
Superintendent Anita Murphy to arrange a formal investigation and
report on the incident. The investigator, Bethany Centrone, Legal
Counsel for Capital Region Board, spoke with Leroy's father, Evans, and
two additional students. She relied on a review of the interviews
conducted by Davis and Evans and other materials to produce her report.
     In her report, Centrone found that regardless of Leroy's intent, his
"post[] [was] targeted at African Americans and [was] discriminatory." A-
389. She recommended that Leroy and the others involved "be referred
to a Superintendent's Hearing to determine whether additional
discipline...is warranted for any or all of these students." A-390.

    c. After a disciplinary hearing, Evans exceeds the hearing
          officer's recommendation and bans Leroy from school
          and extracurricular activities, including his graduation
          ceremony.
     Evans determined a hearing was warranted and informed Leroy
and his parents on April 23, 2021, that he was bringing five charges
against him under the school district's code of conduct for "posting
racially offensive material on social media...." A-456. The hearing was


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held on April 27, 2021, before hearing officer Kate Reid, and attended by
Leroy, his parents, Evans, and Capital Region Board attorney Centrone.
As noted by Reid, such a hearing "is the most serious hearing that a
school district can bring against one of its pupils" under New York law.
A-258.
     At the hearing, Evans testified that after the post, he "had a couple
of phone calls with [Davis]," was "contacted by a couple of students and
a couple of parents," and "received a couple of phone calls from school
staff" about the post. A-272.
     At the conclusion of the hearing, Reid found that Defendants failed
to sustain three of the charges brought but found Leroy guilty of
Charge I-"engaging in willful conduct which disrupts the normal
operation of the school community," and Charge V-"engag[ing] in off-
campus conduct that interfered with, or c[ould] reasonably be expected
to substantially disrupt the educational process." A-276-79. In dismissing
the other charges, Reid found that Leroy did not discriminate or "target[]
any particular person based on any protected characteristic." A-277-78.
Indeed, the record lacks any evidence that Leroy has ever discriminated
against or mistreated any particular person based on race, sex, or other
protected characteristic.
     When addressing possible additional punishment, Evans stressed
to the hearing officer that because the post was "racist in nature" that
should "factor into" Leroy's punishment. A-287.

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     Although Reid stated at the hearing that it was unlikely that she
would find that more than a ten-day total suspension justified for Leroy's
conduct, A-284-85, in heir written Finding of Facts and Recommendation
to Evans she recommended he extend Leroy's 5-day suspension almost a
full additional month, but with an opportunity to return early should he
"enter into a disciplinary contract and/or agree to participate in
restorative practices in connection with this incident," A-462.
     Evans accepted Reid's recommendation but increased the severity
of the punishment to include suspending Leroy "from participation in all
extra-curricular activities through the remainder of the school year,"
including Leroy's graduation ceremony. A-464. Evans also offered to
allow Leroy to return to regular school attendance on May 10, 2021, and
hold the remainder of his suspension in abeyance, if Leroy and his
parents agreed to sign a disciplinary contract. A-465.
     The disciplinary contract offered by Evans required Leroy to
"participate in any recommended Restorative Justice, Diversity, Equity
and Inclusivity training opportunities offered or coordinated by the
district" as a condition of returning to school. A-468, A-469. Leroy signed
the contract on May 9, allowing him to return to school the next day. A-
471. However, all other portions of Leroy's punishment remained: he was
unable to play football, including the championship game; to play
baseball; to go on the senior class trip; to attend the "senior breakfast";
to go to senior prom; and forbidden from attending his graduation. A-43.

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    D.    Leroy brings this case and a New York state court
          enjoins Leroy's punishment.
     On June 16, 2021, Leroy sued Defendants in New York state court
for violating his First Amendment rights. He sought to restore his rights
and privileges as a student, receive a declaration that Defendants'
actions were unconstitutional, expunge his records of any punishment
relating to his speech, and obtain monetary damages for civil rights and
defamation claims. A-30.
     Leroy sought to preliminarily enjoin Defendants from preventing
him from attending his graduation ceremony. The cause was heard on
June 25, 2021, before the Honorable Julian D. Schreibman. After an hour
and a half of oral argument, Judge Schreibman issued his findings and
ruling from the bench: Leroy's post had "[n]o nexus whatsoever to the
school in [his] act of speech." A-588. On the merits, Judge Schreibman
concluded that Mahanoy would "probably compel a ruling against the
School District in this case." A-589. And "the Court share[d] Plaintiff
counsel's view that to the extent there was disruption it was almost
certainly caused, not by this plaintiffs conduct, but by the other student
who took the position of Officer Chauvin in the photo and added the
racially offensive commentary to the photo." A-591-92. In granting Leroy
an injunction, Judge Schreibman noted that,
           [E]ven if this is conduct that may be regulated by the
           school, whether the punishments meted out, in
           particular denying access to graduation as to which

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           there is no suggestion that he was        anything but
           entitled to attend on the basis of his coursework and
           record at the school, strikes the Court as excessive,
           potentially grossly excessive relative to the conduct the
           School District seeks to proscribe.
A-592.
     Balancing the equities, the court found in favor of allowing Leroy to
attend the graduation. A-592.

    E.   After the state court rules against them, Defendants
         remove to federal court, and the district court concludes
         that Leroy's speech is unprotected.
     After Leroy's immediate success in state court, Defendants removed
his action to the Southern District of New York. A-l5. Defendants
answered the complaint and discovery ensued. Leroy moved for summary
judgment on the issue of liability (requesting a trial be set on damages)
and Defendants cross-moved for summary judgment. Dkts. 58, 63.
     Without holding a hearing, the district court granted Defendants'
cross-motion, denied Leroy's motion, and entered final judgment for
Defendants. SPA-l, SPA-22. The court found that Defendants'
disciplinary action did not violate Leroy's First Amendment rights. In
particular, it held that Defendants had "reasonably foretold a substantial
disruption given the barrage of emails they received the night the photo
was posted from students and community members alike." SPA-17. The
court found further evidence of potential disruption in the fact that


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Defendants had directed Leroy and the other students involved to stay
home the day after the social media conflagration. SPA-l7
     The district court also found that actual disruption had occurred, in
the form of "a quick and emotional response from students who deemed
[the photos] inappropriate and offensive and felt that the photos made
them feel unsafe and uncomfortable." SPA-18. Additionally, the day after
the incident, students discussed the photos during and between classes,
the school held an in-school assembly followed by a planned nine-minute
kneeling student protest. SPA-18. Addressing Leroy's point that the
assembly and classroom discussion was the "choice" of Defendants, the
district court disagreed: it was Defendants' "obligation to teach students
antiracism, to be antiracist, and to engage in antiracist conduct"-not
their "choice." SPA-l8; accord SPA-19 (school had "a duty to address" the
Snapchat).
     According to the court, the off-campus nature of Leroy's speech was
"relevant" but not "dispositive" because "the school's regulatory interests
remain significant in some off-campus circumstances." SPA-15 (citing
and quoting Mahanoy Area Sch. Dist. U. BL., 594 U.S. 180 (2021)). But
the district court did not assess any of the Mahanoy factors, which
diminish the school's authority off-campus, nor discuss any of the
exemplary circumstances that Mahanoy held would allow a school to
retain regulatory authority over off-campus speech.



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     The court entered judgment, and Leroy timely appealed. SPA-22;
A-547.


                         Summary of Argument
     Social media, for better and worse, provides the "quintessential
forum for the exercise of First Amendment rights" in modern society.
Packing/iam U. North Carolina, 582 U.S. 98, 104 (2017). Students
expressing themselves on social media often choose insults over
politeness, shock value over sensitivity, outrage farming over nuance,
trolling over measured assessment. Yet that reality doesn't give public
schools a license to police all insensitive speech that occurs online.
Mahanoy Area Sch. Dist. U. B.L., 594 U.S. 180 (2021). When students
speak off campus, outside of school hours, using their own private devices
and social media accounts, schools "will rarely stand in loco parentis." Id.
at 189. If confronted with reports of insensitive student speech online,
school administrators can communicate; they can educate; they can
advise; they can mediate; they can cajole. But if they want to discipline a
student speaker, if they want to usurp the role of that student's parents,
then school administrators have to meet a "demanding standard." Id.
at 193.
     Below, Defendants argued, and the district court accepted, that
they had met that standard and had shown a "substantial disruption"
based on email complaints from offended community members, classroom


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discussion, and an in-school assembly followed by a planned nine-minute
kneeling protest the day after Leroy's social media post. SPA-17-18. This
purported "disruption,"3 though, is not meaningfully different from that
found insufficient by Mahanoy and cases following Mahanoy. See, e.g.,
C1.G U. Siegfried, 38 F.4th 1270 (loth Cir. 2022); see Section I, infra.
Even under Second Circuit law as it existed before Mahanoy, Leroy's
speech-which did not portend violence or even address itself to the
school, administrators, or students-was fully protected. See Section II,
infra.
     Worse, Defendants largely inflicted the claimed "disruption" on
themselves. They chose to invite in-class student discussion about
Leroy's post; they took time out of students' normally scheduled classes
to host an assembly and supervise a planned demonstration; they
distributed several letters to the school community. Et., A-278-79.
Whether or not they felt a pedagogical "obligation" to take those actions,
(SPA-l8), their choice is not attributable to Leroy's speech.
     Defendants' choice highlights a separate independent problem with
their discipline of Leroy's speech: they punished Leroy because of their
perception of the viewpoint he was expressing. See Section III, infra.
Viewpoint discrimination is anathema to the First Amendment. Thus,


     3 The record reflects 23 email exchanges between community
members and school district employees. See Add. l, Tbl. l.

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even if Defendants could otherwise satisfy Mahanoy's "demanding
standard," their viewpoint discrimination violated Lelroy's constitutional
rights.

                                 Argument

1.   Mahanoy resolves this case in Leroy's favor.
     Just three years ago, the Supreme Court settled the constitutional
questions at the heart of this case: what is the scope of high school
students' free expression rights off campus on social media? And
reciprocally, what is the scope of a school's constitutional authority to
punish such speech? See Mahcinoy Area Sch. Dist. U. BL., 594 U.S. 180
(2021). In Mdhanoy, a school suspended a student from extracurricular
activities after she posted an incendiary photo on Snapchat bearing the
caption "Fuck school fuck softball fuck cheer fuck everything." Id. at 185.
After both lower courts concluded that the suspension violated the
Constitution, the Supreme Court granted certiorari to decide how Tinker
U. Des Moines Independent Community School District, 393 U.S. 503
(1969)-the seminal decision at the intersection of student free speech
rights and school disciplinary authority-applies to speech occurring off
campus on a student's own time. Mahanoy, 594 U.S. at 186-87.
     Mahanoy answers that "three features of off-campus speech
often, even if not always, distinguish schools' efforts to regulate that
speech from their efforts to regulate on-campus speech" and "diminish

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the strength of the unique educational characteristics that might call for
special First Amendment leeway." 594 U.S. at 189.
     "First, a school, in relation to off-campus speech, will rarely stand
in loco parentis." 594 U.S. at 189. "The doctrine of in loco parentis treats
school administrators as standing in the place of students' parents under
circumstances where the children's actual parents cannot protect, guide,
and discipline them." Id. "Geographically speaking, off-campus speech
will normally fall within the zone of parental, rather than school-related,
responsibility." Id. Justice Alito, concurring with Justice Gorsuch,
expands on this point: "enrollment cannot be treated as a complete
transfer of parental authority over a student's speech. In our society,
parents, not the State, have the primary authority and duty to raise,
educate, and form the character of their children." Id. at 201-02.
     "Second, from the student speaker's perspective, regulations of off-
campus speech, when coupled with regulations of on-campus speech,
include all the speech a student utters during the full 24-hour day." 594
U.S. at 189. "That means courts must be more skeptical of a school's
efforts to regulate off-campus speech, for doing so may mean the student
cannot engage in that kind of speech at all." Id. at 189-90. "When it comes
to political or religious speech that occurs outside school or a school
program or activity, the school will have a heavy burden to justify
intervention." Id. at 190.



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     "Third, the school itself has an interest in protecting a student's
unpopular expression, especially when the expression takes place off
campus." 594 U.S. at 190. Again, the concurrence elaborates: "If a school
tried to regulate such speech [on "sensitive subjects"], the most that it
could claim is offensive off-premises speech on important matters may
cause controversy and recriminations among students and may thus
disrupt instruction and good order on school premises." Id. at 205. "But
it is a bedrock principle that speech may not be suppressed simply
because it expresses ideas that are offensive or disagreeable." Id.
(internal quotations omitted).
     Thus, Mahanoy's offensive and profane speech was fully protected.
This was so even though her snapchats caused "some members of the
cheerleading team [to be] 'upset,'" which carried over into subsequent
class-time "discussion of the matter." Mahanoy, 594 U.S. at 192. "Simple
undifferentiated fear or apprehension [of more] is not enough to overcome
the right to freedom of expression." Id. at 193 (simplified) .
      Each of these three features fully applies to Leroy's speech here, yet
the district court mentioned none of them. From its opinion, one could
hardly even discern that Mahanoy is the pivotal decision about off-
campus student speech. Instead, the decision cites Mahanoy for only one
legal proposition: that the off-campus location of speech is not dispositive
(SPA-15 (citing Mahanoy, 594 U.S. at 188)); accord SPA-14). True
enough, Mahanoy reasons that the school's regulatory interests do not

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"always disappear" off campus. 594 U.S. at 188. But the district court
below overlooks Mohonoy's immediate qualification of that statement
"list[ing] several types of off-campus behavior that may call for school
regulation," including (l) harassment targeting particular individuals;
(2) threats aimed at teachers or other students; (3) curricular speech; and
(4) speech communicated on school devices. Id. While this may not be an
exclusive list, Leroy's speech does not fit any of these exceptional
categories or implicate any attendant concerns. In other words, there is
no regulatory interest in generalized offensive speech or commentary,
like the speech in Moho foy and the speech here.
     Although the decision below attempts to distinguish Moho foy on
its facts (SPA-17-18), no material distinction exists. Leroy's speech, like
B.L.'s, "appeared outside of school hours from a location outside the
school." 594 U.S. at 191. He "did not identify the school in h[is] posts or
target any member of the school community with vulgar or abusive
language." Id. Like B.L., he "also transmitted h[is] speech through a
personal cellphone, to an audience consisting of h[is] private circle of
Snapchat friends." Id. As in Moho foy, then, these features "diminish the
school's interest in punishing [Leroy's] utterance." Id.
     Nor were the consequences of Leroy speech meaningfully different
from those in Moho foy. The purported disruption here-"a quick and
emotional response from students who deemed [the photos]
inappropriate and offensive," in-school discussion, and a planned nine

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minute kneeling protest (SPA- 17-18)-closely resembles that alleged, but
insufficient, in Mahanoy. See 594 U.S. at 192 ("upset" students and in-
school "discussion of the matter" that "took, at most 5 to 10 minutes of an
Algebra class 'for just a couple of days.'") "[A school] must be able to show
that its action was caused by something more than a mere desire to avoid
the discomfort and unpleasantness that always accompany an unpopular
viewpoint." Id. at 191. (internal quotation omitted).
     Tinker sets a "demanding standard." Id. And it places the burden
"squarely" on the school to show a genuine disruption or substantial
likelihood thereof. N.J. U. Sonnabend, 37 F.4th 412, 426 (7th Cir. 2022);
accord Norris U. Cape Elizabeth Sch. Dist., 969 F.3d 12, 25 (1st Cir. 2020)
(citing Second Circuit among other authorities). Mahanoy and Tinker do
not permit schools to manufacture a disruption by directing the speakers
to stay home from school and then claiming that as "evidence[]" of
"apprehension" of potential disturbance. Contra SPA-17, see J.S. U. Blue
Mt. Sch. Dist., 650 F.3d 915, 929 n.6 (3d Cir. 2011) (en banc)
(distinguishing between disruption caused by the speech and by "the
direct result of the School District's response" to the speech). Email
complaints from offended and upset community members-even a
"barrage" of them4-do not change the calculus. "The freedom of students


      4 SPA-17. The record reveals 23 such email exchanges. See Add. l,
Tbl. l.

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to speak would not be worth much if it gave way in the face of such
relatively minor complaints. Speech cannot be suppressed just because it
expresses thoughts or sentiments that others find upsetting..." Mahanoy,
594 U.S. at 210 (Alito, J., concurring). Crediting such complaints would
amount to "a heckler's veto." Id. at 206. Both here, and in Mahanoy, the
school district's discipline cannot "meet Tinker's demanding standard."
Id. at 193 (Majority Op.)
      No appellate court has interpreted Mahanoy the way the court
below did. Consider the Tenth Circuit's decision in C1.G U. Siegfried, 38
F.4th 1270 (10th Cir. 2022). Siegfried involved an off-campus Snapchat
selfie of C.G. and three friends posing in WWII era military regalia with
the caption "Me and the boys bout to exterminate the Jews." Id. at 1274.
C.G. spoke off campus outside of school hours, did not target any member
of the school community or even identify the school, and transmitted his
speech through his personal cellphone to a private circuit of Snapchat
friends. Id. at 1277-78. These are the "normal circumstances" subject to
parental oversight, not to the school acting in loco parentis. Id. at 1278
     Still, the school disciplined C.G., offering several pieces of evidence
to justify its forecast of substantial disruption: (1) the principal received
emails about the post; (2) the post had been widely circulated throughout
the area's Jewish community; (3) the post had scared, angered, and
saddened a family whose son was worried about being in C.G.'s class; (4)
the principal sent out a message to the community; (5) news outlets

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covered the incident; (6) three more families contacted the school; and (7)
the school used one advisory period to discuss the post and promote
conversation about harmful speech. Id. The Tenth Circuit held that after
Mahanoy,"[t]hese facts fall short of Tinker's demanding standard." Id. at
1279 (internal quotation omitted). Neither the emails, nor the news
reports, nor the school's "choice to discuss C.G.'s post during an advisory
period," nor their combination sufficed to meet the demanding standard.
Id.
      But here, the district court denied that Defendants' decision to host
an assembly, discussion sessions, and a nine-minute protest, was even a
"choice." SPA-18. According to the district court, it was a pedagogical
"obligation." SPA-18. If "providing students the opportunity and space to
discuss the photos, its [sic] implications, and the topical issue of the
murder of George Floyd and police brutality" "directly served" that
obligation, though, how could Leroy's speech constitute a substantial
disruption? It would be no more than the discharge of the school's duty-
in other words, a "teaching moment."
      At base, the district court and Defendants misconceive the school
district's fundamental "obligation." That obligation isn't inculcating
antiracism, or any particular ideology, in the student body. Contra SPA-
l8; Memorandum in support of Summary Judgment, Dkt. 70 at 19; A-
469 (requiring Leroy to attest that he "shall participate in any
recommended Restorative Justice, Diversity, Equity, and Inclusivity

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training opportunities offered or coordinated by the district" as a
condition of returning to school). After all, "no official, high or petty" is
supposed to "prescribe what shall be orthodox in politics, nationalism,
religion, or other matters of opinion." WE Va. Bd. of Educ. U. Bernette, 319
U.S. 624, 642 (1943). The actual obligation is providing "scrupulous
protection of Constitutional freedom of the individual" lest they "strangle
the free mind at its source and teach youth to discount important
principles of our government as mere platitudes." Id. at 637. The real
civic "duty" is "teach[ing] students that freedom of speech including
unpopular speech, is essential to our form of self-government." Mahanoy,
594 U.S. at 195 (Alito J., concurring). That means "ensuring that future
generations understand the workings in practice of the well-known
aphorism, 'I disapprove of what you say, but I will defend to the death
your right to say it.'" Id. at 190 (Majority Op.). Livingston Manor Central
School District's policies may commit to this duty,5 but its efforts to
extract a pound of flesh from Leroy did not.
     Finding community outrage and discomfort to be a substantial
disruption is incompatible not only with Siegfried, but with a bevy of
post-Mahanoy decisions. See RH. U. Borough of Sayreville, 2023 WL


     5 See A-451 ("The district recognizes that free inquiry and free
expression are indispensable to the objectives of the district. The purpose
of this code is to maintain public order and prevent abuse of the rights of
others.")

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3431214, 2023 U.S. Dist. LEXIS 83587, at *l8-*2l (D.N.J. May 12, 2023)
("racially insensitive" joke on Instagram) ("increased supervision of
students" "following complaints regarding the post" did not qualify as a
substantial disruption); Wang U. Bethlehem Cent. Sch. Dist., 2022 WL
3154142, 2022 U.s. Dist. LEXIS 140153, *46 (N.D.N.Y. Aug. 8, 2022)
(internet bracket of "most liked or admired girls") ("mere offense of a
group of students is generally not viewed as sufficiently disruptive");
Chandler U. Tech. Coll. of the Lowcoiintry, 2022 WL 2670806, 2022 U.S.
Dist. LEXIS 122784, *18 (D.S.C. Jul. II, 2022) (Facebook posts
complaining about failure to honor exceptions to mandatory vaccination
policy) ("a few calls from the public to these boards regarding an apparent
violation of law cannot reasonably be expected to have disrupted
education at TCL"); Appeal of G.S., 269 A.3d 718, 734 (Pa.
Commonwealth Ct. Jan. 7, 2022) (Snapchat posting of violent death
metal lyrics) ("where a student's properly contextualized, off-campus
speech is not distinctly connected to school activities or clearly directed
towards members of their educational community, a public school's reach
exceeds its constitutional grasp if it seeks to punish that student for any
disruption to normal school operations that results from that speech.").
Affirming the district court's decision would create an "inadvisable" split
with Siegfried; there are "no compelling reasons" to do so here. Janese U.
Fay, 692 F.3d 221, 227 (2d Cir. 2012).



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      Like Siegfried, this case follows seamlessly from Mahanoy. Leroy's
speech was not "expressly and specifically directed at the school, school
administrators, teachers, or fellow students." Mahanoy, 594 U.S. at 205
(Alito, J., concurring). Whether or not it touches on a "sensitive subject,"
his speech is, as it "almost always" is, "beyond the regulatory authority
of a public school." Id.

11.   Pre-Mahanoy precedent confirms that Leroy's speech is
      protected.
      Mahanoy's rule of decision does not work a sea change; it builds on
the "'bedrock principle' that speech may not be suppressed simply
because it expresses ideas that are 'offensive or disagreeable.'" 594 U.S.
at 205-06 (Alito, J., concurring) (quoting Texas U. Johnson, 491 U.S. 397,
414 (1989) and citing other authorities); see also Duke U. State Univ. of
N.Y 900 F.2d 587, 590, 597 (2d Cir. 1990) (no qualified immunity for
university officials who bowed to "growing furor" and "community
activists" "outraged" at a professor teaching that Zionism is as racist as
Nazism). That is the bedrock of Tinker: schools may not punish
"unpopular" speech to avoid "discomfort," "unpleasantness," or
"controversy." 393 U.S. at 509-10. And the Supreme Court has continued
to reject the contrary argument that schools may prohibit "any speech
that could fit under some definition of 'offensive.'" Morse U. Frederick, 551
U.s. 393, 409 (2007).



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     Still, before Mahanoy, there was uncertainty as to the boundaries
of student free expression and school authority, especially as social media
transitioned from emergent to ubiquitous. This Circuit's law embraced
that tension. Its earliest discussion of off-campus free expression rights
held that Tinker did not authorize administrators to "venture[] out of the
school yard into the general community" to punish students for printing,
publishing, and distributing a self-avowedly vulgar publication outside
of school. Thomas U. Bd. of Educ., Granville Cent. Sch. Dist., 607 F.2d
1043, 1050 (2d Cir. 1979). Thomas reasoned that allowing administrators
to act on the sentiments "of the community-at-large" would "inevitably"
"chill...protected expression" "regardless of the intentions of well-
meaning school officials." Id. at 1051. And, as later emphasized in
Mahanoy, such freewheeling authority would usurp parents' own
"role...in bringing up their children." Id.
      Thomas is not merely the best rule for students and parents, it is
the best rule for school districts themselves. Establishing unbridled
authority for schools to police off-campus student speech-or even more,
a school's "obligation" (SPA-18) to police it-opens up the potential for
boundless liability for events beyond the schoolhouse gate. Thomas's
rule, by contrast, allows schools "the freedom not to intervene without
fear of being sued for their inaction." Amicus Br. of Louisiana, et al. at 4,
Mahanoy Area Sch. Dist. U. B.L., No. 20-255 (U.S. Mar. 31, 2021). They
can then "focus on educating students without risking an inaction-

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inspired uproar when they choose to respect, rather than undermine,
students' First Amendment rights." Id. at 3.
     As we entered the internet era, however, this Court retreated from
Thomas. It held that a school did not violate the free speech rights of a
student when it disqualified her from extracurricular student
government participation in response to an online blog post criticizing
the school administration and soliciting readers to contact the
administration to express their displeasure. Doninger U. Niehoff, 527
F.3d 41 (2d Cir. 2008) ("Doninger I"). Doninger I listed three factors
supporting its conclusion: (l) Doninger had used "incendiary language"
"purposely designed...to come onto the campus", (2) Doninger's post
contained misleading or false information "in [an] effort to solicit more
calls and emails to [school officials]"; and (3) the school's discipline was
limited to disqualification from participation in an extracurricular
activity. Id. at 50-53. Doninger I explicitly left open the question of
whether a "more serious consequence than disqualification from student
office would raise constitutional concerns." Id. at 53. Doninger I did not
attempt to reconcile Thomas, but Doninger II (at the summary judgment
stage) did. Doninger U. Niehoff, 642 F.3d 334, 346-347 (2d Cir. 2011).
Doninger II held that the distinction is whether the off-campus speech is
"deliberately designed to take place away from school" or rather "to
"incite[] substantial disruption within the school from some remote



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locale." Id. Doninger's speech fell into the latter category, at least for
purposes of a qualified immunity analysis. Id.
     Mahanoy abrogates Doninger I, at least for the only issue that
decision resolved. A free speech claim cannot be disposed of because the
discipline imposed is merely a suspension from extracurricular
participation. Contrast Mahanoy, 594 U.S. at 210 (suspension from
cheerleading team), with Doninger I, 527 F.3d at 52-53. Nor can it be
disposed of because the student uses incendiary language. Contrast 594
U.S. at 191 (characterizing speech as "crude" and "vulgar"), with
Doninger I, 527 F.3d at 50-51. More broadly, Justice Alito's concurrence
cites Doninger as an example of speech criticizing school administrators,
a type of speech that students "surely" retain the right to voice "in an
appropriate manner." 594 U.S. at 208 & n.22. Even if Mahanoy merely
"casts doubt," this Court would be within its discretion to overrule
Doninger. Lotes Co. U. Hon Had Precision Indus. Co., 753 F.3d 395, 405
(2d Cir. 2014) (internal quotation omitted).
     Regardless of Doninger's continuing vitality, the decision below
does not merely follow Doninger, it extends it to Leroy's speech here,
without appreciation of the distinction. SPA-l7. Leroy's speech did not
encourage or solicit calls and emails to the administration. Contrast
Doninger, 527 F.3d at 50-51. It did not contain misleading or false
information about the school; it did not reference the school at all. Leroy
shared his Snapchat only with a discrete circle of friends, and in fact

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pulled his post down after seven minutes when it started to engender
controversy. A-38. Simply put, the speech was not "purposely designed"
"to come onto the campus." Compare 527 F.3d at 50, with Blue Mt. Sch.
Dist., 650 F.3d at 930-931 (speech protected when student did not intend
for it to reach the school) and Thomas, 607 F.2d at 1050 (same). Thus,
even before Mahanoy, it was incumbent on administrators (and in
litigation, on courts) to "attempt to disentangle the harm caused by" the
speech at issue from the speech of other students. Norris, 969 F.3d 12,
31; see also Young U. Giles Cnty. Bd. of Educ., 181 F. Supp, 3d 459, 464
(M.D. Tenn. 2015) ("The only disruption came at the hands of Defendants
themselves"); Gillman U. Sch. Bd. for Holmes Cnty., 567 F. Supp, 2d 1359,
1371 (N.D. Fla. 2008) ("it is clear that [the school administrator], not the
innocuous symbols and phrases at issue, bears sole responsibility for any
unrest that occurred at" the school).
     Under Doninger, the solicitation/encouragement/inducement of
complaints is necessary to attribute a disruption to student speech. An
external "barrage of emails" itself is not sufficient. Contra SPA- 17. School
administrators handling ordinary administrative responsibilities does
not amount to Tinker disruption. See Thomas, 607 F.2d at 1046
(administrators met with "shocked and offended" community members,
then investigated and convened a school board meeting); Blue Mt. Sch.
Dist. , 650 F.3d at 922-23 (administrators fielded reports and complaints

from teachers). In other words, "the orderly conduct" of the school "takes

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into account and includes within it conduct or circumstances that may
momentarily divert attention from the planned classroom activity and
that may require some intervention by a school official." In re Jason W.,
837 A.2d 168, 174 (Md. Ct. App. 2003). This was true in Tinker itself
where the armbands caused far-reaching disruption, even diverting
classmates' "attention to the wounded and dead of the [Vietnam] war,
some of the wounded and dead being their friends and neighbors." Blue.
Mt. Sch. Dist., 650 F.3d at 928-29 (citing and quoting Tinker).
     Worse, under the district court's interpretation of Doninger, schools
may pass the buck and externalize the decision to censor when third-
party complainants issue an "explicit call to action." SPA-l7. But when
the government gives effect to an outside third party's disagreement with
speech, the government censors just as if the complaint came from the
government itself. Cf. Forsyth County U. Nationalist Movement, 505 U.S.
123 (1992) (recouping costs incurred due to listeners' reaction to
unwelcome speech not permitted by the First Amendment). "[H]ecklers
don't get the veto." Mahanoy, 594 U.S. at 206 (Alito, J., concurring)
(quoting Transcript of Oral Arg. 5-6).
     Meanwhile, a third line of pre-Mahanoy cases, distinct from
Thomas and Doninger, offers greater leeway to administrators regulating
threats of violence. See Cuff U. Valley Cent. Sch. Dist., 677 F.3d 109 (2d
Cir. 2012) (cited at SPA-14, SPA-l7); Wisniewski U. Bd. of Educ. of the
Weeclsport Cent. Sch. Dist., 494 F.3d 34 (2d Cir. 2007). Cuff involved in-

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school speech that "threaten[ed] violence" from a student with "a history
of disciplinary issues" and other speech that "embraced violence." 677
F.3d at 113-14. Wisniewski involved "potentially threatening" online
speech "reasonably understood as urging violent content." 494 F.3d at 38,
39. Wisniewski made clear that, "[a]s in Morse, the student              was not
disciplined for conduct that was merely 'offensive' or merely in conflict
with some view of the school's 'educational mission.'" Id. at 40 (quoting
Morse, 551 U.S. at 409 (Majority Op.) and 551 U.S. at 423 (Alito, J., joined
by Kennedy, J., concurring)).
      Like Doninger, Cuff and Wisniewski are factually inapposite here,
where no one interpreted Leroy's social media post as a threat of violence,
Leroy has no history of disciplinary issues, and Leroy's post does not even
mention the school. Accord Siegfried, 38 F.4th at 1279 ("[E]ven pre-
Ma/ianoy, this case materially differs from the [] cases Defendants cite to
prove that other circuits have applied Tinker to off-campus
speech...[which] all addressed specific threats directed at a school, its
students, or its officials."). Rather, Defendants imposed discipline
because they viewed Leroy's speech as antithetical to their didactic
"obligation" (SPA- 18)-in other words, the sort of perceived inconsistency
with their "educational mission" that Wisniewski and Alito's concurrence
in Morse take off the table. See also Giiiles ex rel. Giiiles U. Marineaii, 461
F.3d 320, 330 (2d Cir. 2006) (repudiating the "educational mission"
rationale even before Morse) .

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       In short, Lelroy's claims had merit even before Mahanoy.

111.   Even if Defendants could satisfy Mahanoy's demanding
       standard for substantial disruption, they violated Leroy's
       First Amendment rights by disciplining him based on
       viewpoint.
       Defendants singled out Leroy for punishment based on the
perceived viewpoint of his Snapchat message. Aligning with "antiracist"
views advanced by the mob objecting to Leroy's snap, Defendants harshly
penalized Leroy for ambiguous speech that, while apparently attacking
the impunity with which police engage in violent tactics, did not explicitly
condemn racism with "antiracist" platitudes. They did this even though
his speech occurred out-of-school, about a non-school topic. Meanwhile,
Defendants failed to punish other students who-asserting that Leroy's
message was racist-re-posted the same message and intended to disrupt
school operations by engaging in a protest and encouraging students and
other community members to bombard school administrators with
messages about Leroy's snap.
       In our constitutional system, "viewpoint discrimination is poison."
Frederick Douglass Found. U. District of Columbia, 82 F.4th 1122, 1141
(D.C. Cir. 2023). It is "uniquely harmful to a free and democratic society."
Nat'l Rifle Ass'n U. Vullo, 602 U.S. 175, 187 (2024). Thus, while speech
"restrictions based on content must satisfy strict scrutiny          those based
on viewpoint are prohibited." Minnesota Voters Alliance U. Mansky, 585


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U.S. l, II (2018); accord Iancii U. Briinetti, 588 U.S. 388, 393 (2019)
("unconstitutional"); Mata]      U.   Tam, 582 U.S. 218, 243 (2017)
("forbidden"); Speech First, Inc. U. Cartwright, 32 F.4th 1110, 1126 (nth
Cir. 2022) ("prohibited, seemingly as a per se matter") (internal quotation
omitted); Wandering Dago, Inc. U. Destito, 879 F.3d 20, 24 (2d Cir. 2018)
("prohibited").
     This bar on viewpoint discrimination-"a core facet of First
Amendment protection"-applies the same to student speech met with
school discipline. Peck U. Baldwinsville Cent. Sch. Dist., 426 F.3d617, 633
(2d Cir. 2005); accord Speech First, 32 F.4th at 1127 n.6; Taylor U. Roswell
Inclep. Sch. Dist., 713 F.3d 25, 46 (10th Cir. 2013); Iota Xi Chapter of
Sigma Chi Fraternity U. George Mason Univ., 993 F.2d 386, 393 (4th Cir.
1993). Indeed, Tinker itself rejects the possibility of viewpoint
discrimination. Disciplinary action cannot be rooted in desire to avoid "an
unpopular viewpoint." 393 U.S. at 509. It is not "constitutionally
permissible for a school to "single[] out" one particular viewpoint using a
facially neutral rule. Id. at 510-11.
      The record reveals that Livingston Manor Central School District
did exactly that when it punished Leroy for his off-campus speech.
Although the only two rules Leroy was found to have violated are neutral
on their face,6 Defendants applied those rules to target Leroy for what

      6 A-464 ("l. Charge l: Article VI(A)(5)- Engaging in any wilful [sic]
act which disrupts the normal operation of the school community. 2.

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Defendants considered to be his offensive views. Defendants' viewpoint
discrimination is evident in several ways: (l) the express comments and
statements of Defendants; (2) the context and circumstances of the
imposition of discipline; and (3) the disparate treatment of other
students.
     First, and most directly, school administrators made several
statements evincing "their political motives" for Leroy's punishment.
Gerlich U. Loath, 861 F.3d 697, 706 (8th Cir. 2017); accord Ragbir U.
I-Ioman, 923 F.3d 53, 70-71 (2d Cir. 2019), vacated on other grounds sub
nom. Pham U. Ragbir, 141 S. Ct. 227 (2020) (statements of government
officials evidence unconstitutional viewpoint discrimination). Here, the
record includes both expressions condemning the political views that
administrators perceived Leroy's "cops got another" post to carry, and
expressions of support for a so-called "antiracist" ideology that opposed
Leroy's post. Antiracism is an extreme, far-left ideology that asserts that
there is no such thing as being "not racist." See How to Be an Antiracist,
Wikipedia.7 Rather, "one is either actively confronting racial inequality



Charges [sic] 5: Article VI(H)- Engaging in off-campus misconduct that
interferes with, or can reasonably be expected to substantially disrupt
the educational process in the school or at a school function.")
       7 Available at https://en.wikipedia.org/wiki/How to Be an Antira
cist (last visited Jul. 31, 2024).

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or allowing it to exist through action or inaction."8 Thus, although Leroy's
snap appeared to comment on the impunity with which police engage in
brutality and similar misconduct, his lack of express commentary against
racism triggered outrage by third parties and school officials' punishment
of Leroy for an out-of-school post. Contrast his treatment with that of his
fellow students who instigated the actual school disruption yet received
no such discipline. Indeed, the school allowed those students to
participate in a kneeling protest under the supervision of a guidance
counselor.
     School officials reacted almost immediately after Leroy's Snapchat
on April 19. The next day, district Superintendent John Evans convened
an assembly for grades 7-12 where he "[t]alked about...racism and the
[fact that the] connotations of the post upset a lot people because they
were viewed as racist in nature." A278-79. That same day, Evans
addressed a letter to the school community stating much the same
message: that "several students" had been involved in "posting...some
inappropriate photos and comments on social media" A-376. The letter


     8 Id. As leading critical race theorist and author of How to Be
Antiracist, bram X. Kendi, baldly states in his best-selling book: '"The
only remedy to racist discrimination is antiracist discrimination. The
only remedy to past discrimination is present discrimination.... The only
remedy to present discrimination is future discrimination.'" Noah
Rothman, Searching for the 'Anti'in 'Antiracism,' COMMENTARY (Dec. 21,
2020)

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ties Leroy's post to "[r]acism" that "cannot and will not be tolerated." A-
376. A few days later, Evans sent a disciplinary charging letter to Leroy's
parents describing Leroy's violative conduct as "posting racially offensive
material on social media." A-456. Meanwhile, Principal Shirlee Davis
echoed Evans' statements to offended community members. See A-369.
She too described Leroy's conduct as "post[ing] racially offensive material
on social media"9 and stated to Leroy himself that the post was
"completely inappropriate and viewed a [sic] racist." A-407.
     Defendants continued to discriminate against Leroy's speech based
on their "antiracist" ideology at his hearing. There, Evans testified that
what Leroy's post "depict[ed]" was "racist in nature" and that others'
"perception" of his post as such should factor into his punishment. A-287.
After the hearing, the hearing officer appointed by Evans found that
Leroy's post was "uniformly perceived as racist," that "[a]ny reasonable
person would construe the content of both photos as racially insensitive,
particularly in light of the close proximity between the posting of the
photos and Derek Chauvin trial," that "[a]ny reasonable student of Case's
age and maturity should have been aware that the photos would be
construed as a racially insensitive mockery of the murder of George
Floyd," and that the posting compelled Evans to schedule an assembly
assuring students that the district was not condoning those views and


     9 A-380.

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was working to address racism in the district. A-461. Evans "accept[ed]"
the hearing officer's report, but enhanced Leroy's recommended
punishment to include a ban on participation in all extracurricular
activities including the graduation ceremony. A-464. Evans concluded
that such punishment was necessary to "ensure that Case understands
the seriousness of his actions" and "to deter other students from engaging
in similarly insensitive conduct." A-464.
     Evans expressed a willingness to consider allowing Leroy to return
to school before the end of his 23-day suspension if he agreed to
participate in "restorative practices." A-464. And, indeed, Evans
compelled Leroy's agreement to "participate in any recommended
Restorative Justice, Diversity, Equity, and Inclusivity training
opportunities offered or coordinated by the district" as a condition of that
early return to school. A-469. Thus, Leroy might atone for the "racially
offensive material [posted] on social media." A-467.
     Throughout this litigation, Defendants have continued to openly
declare their motives in language couched in antiracist ideology. In his
summary judgment declaration, Evans claimed that:
           [T]he District has a significant interest in addressing
           racially offensive student speech and conduct...The
           Hearing Officer concluded Plaintiffs photographs were
           racially insensitive and Plaintiff [sic] claim that he did
           not understand the racial implications was not credible.
           As Superintendent, I make efforts to address racial


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           issues with students and staff. In May 2021, we held two
           days of training regarding implicit bias.
A-478-79. Defendants' memorandum in support of summary judgment
stressed that even the state court judge who had enjoined Leroy's
suspension "recognized...public schools[']...obligation to teach students
antiracism, to be antiracist and to engage in antiracist conduct." Dkt. '70
at 19. In sum, Defendants' statements show they imposed discipline on
Leroy based on the conflict between his perceived ideology and their own.
     The district court not only erred in finding otherwise but
compounded the harm. The court's imposition on educators of an
"obligation to teach students antiracism, to be antiracist, and to engage
in antiracist conduct," SPA-18, cements the viewpoint discrimination
that government actors imposed on Leroy. School districts don't even
have the "choice" to maintain viewpoint neutrality.
     Second, even if the direct statements of Defendants do not suffice
to demonstrate viewpoint bias, the circumstances of Leroy's discipline
reveal it. Defendants might well claim that while other community
members harbored personal animus toward Leroy's perceived views, they
did not. (Here, for example, such offended third parties called the photos
"racist and disgusting" or "racist and inappropriate." A-473, A-480, A-
484.) But under the First Amendment, it is no excuse for school officials
to say that they are merely acting on the views of offended third parties.




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      Adopting the views of those objecting to speech constitutes
viewpoint discrimination just the same. Amidon U. Student Ass'n. of
SUNYAlbany, 508 F.3d94, 102 (2d Cir. 2007) ("Viewpoint discrimination
arises because the vote reflects an aggregation of the student body's
agreement with or valuation of the message [a student organization]
wishes to convey"); see also Masterpiece Cake Shop U. Colo Civ. Rts.
Comm'n, 584 U.S. 617, 638 (2018) ("A principled rationale for the
difference in treatment of these two instances cannot be based on the
government's     own     assessment       of   offensiveness.").     Ceding   to
"majoritarian views"-or perhaps worse, a loud politically-savvy
minority10--is not compatible with viewpoint neutrality. Amidon, 508
F.3d at 102. To put a finer point on it, the school can't justify its viewpoint
discrimination by the fact that other people inside or outside the school
community are clamoring for it: that's an impermissible heckler's veto.
Mahanoy, 594 U.S. at 206 (Auto, J., concurring); see also Seattle Mideast
Awareness Campaign U. King Cty., 781 F.3d 489, 502-03 (9th Cir. 2015)
(noting that, even in a limited public forum, a "heckler's veto" may be a
form of "viewpoint discrimination" if "asserted fears of hostile audience

     10 Online cancellation campaigns-pressuring schools or other
institutions to visit negative consequences on affiliated individuals who
are deemed to have engaged in offensive speech-are of relatively recent
vintage. See generally Greg Lukianoff & Rikki Schlott, THE CANCELING
OF THE AMERICAN MIND: CANCEL CULTURE UNDERMINES TRUST AND
THREATENS Us ALL-BUT THERE Is A SQLUTIQN (2023).


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reaction are speculative and lack substance, or where speech on only one
side of a contentious debate is suppressed"); Burnham U. Lanni, 119 F.3d
668, 676 (8th Cir. 1997) (en bane) (similarly holding that it is not
"constitutionally valid" to curtail speech in a limited public forum simply
because "other persons on the [] campus object[] to [the speaker's]
viewpoint").
      Because the mob espoused the same "antiracist" views as the
administration, Defendants invited the "disruption" of an assembly and
a nine-minute kneeling protest. A-505, A-40. If Defendants had stopped
with their pedagogical decision to hold an assembly and host a protest,
Leroy would not have suffered constitutional injury. "[I]f the First
Amendment means anything, it means that the best response to
disfavored speech on matters of public concern is more speech, not less."
Knight First Amendment Inst. at Columbia Univ. U. Trump, 928 F.3d 226,
240 (2d Cir. 2019), vacated on other grounds sub nom. Biden U. Knight
First Amendment Inst. at Columbia Univ., 141 S. Ct. 1220 (2021). Thus,
Defendants had many ways to exercise their pedagogical discretion
without violating Leroy's rights. But in acceding to the demands of the
mob, they decided not to stop at government speech; they punished the
speaker.
     Third, the disparate treatment that Defendants applied to Leroy
confirms their viewpoint animus. "[A] public official engages in viewpoint
discrimination when that official applies a facially viewpoint-neutral rule

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in a viewpoint discriminatory way." Collins U. Putt, 979 F.3d 128, 145 (2d
Cir. 2020) (Menashi, J., concurring in the judgment) (citing Peck, 426
F.3d at 632-33); accord Frederick Douglass Found., 82 F.4th at 1141 ("It
is fundamental to our free speech rights that the government cannot pick
and choose between speakers, not when regulating and not when
enforcing the laws"); Waln U. Dysart Sch. Dist., 54 F.4th 1152, 1162 (9th
Cir. 2022) ("a policy that is viewpoint neutral on its face may still be
unconstitutional if not uniformly applied.") (internal quotation omitted).
     Recall what offenses Leroy was found to have violated: "a willful act
which disrupts the normal operation of the school community" and "off-
campus misconduct that interferes with, or can reasonably be expected
to substantially disrupt the educational process in the school or at a
school function." See supra at 36 n.6. Here, the record contains
undisputed evidence that other students solicited and participated in
bringing Leroy's speech on campus for the purpose for opposing Leroy's
putative views. During the brief interval when Leroy's Snapchat was
published, "another student" "took a 'screen shot,'" "added plaintiffs
name" and "language decrying it as racist and urging others to bring it
to the attention of school authorities," which she herself did as well. A-
38. ironically, though this student's speech paralleled the intentional
school-directed speech of Doninger (see 527 F.3d at 51), the record reveals
no punitive consequences for her "willful act" of disruption or "off-campus
misconduct." Nor is there any record evidence of discipline of the other

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students who participated in the email barrage or those who organized
the in-school protest. A278-79, A-492-97. When Leroy's parents brought
this point to the hearing officer's attention, she called it an "attempt[] to
shift blame to a student who 'reposted' the racist posts" that "appeared
to reflect a lack of understanding by Case" that "he is responsible for
repercussions of such postings." A-461. That was mistaken: "the law
requires school officials to punish the disruptive student, not the student
whose speech is lawful." Gillman, 567 F. Supp, 2d at 1374; accord
Mahanoy, 594 U.S. at 206 (Alito, J., concurring). The school's failure to
apply its rules even-handedly confirms the viewpoint discrimination at
the heart of its discipline of Leroy.
     One of the most revealing aspects of Defendants' viewpoint bias is
that the meaning of Leroy's Snapchat and accompanying caption were
ambiguous:




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A-289.
     While there is no doubt that Leroy's post qualifies as provocative,
his message is more readily viewed as anti-cop than racist (or conceivably
viewed as neither of the two!). But to an antiracist hammer, everything
looks like a racist nail. And that is one fundamental problem with
allowing schools to discipline offensive views: "offense" is not capable of
evenhanded application. Once the internet mob got the snowball rolling,
it was easy for school administrators to go along and impute racist views



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to Leroy. It did not matter that a few months before the incident, Leroy
had written an essay for a class on public safety where he concluded that
the officers had used excessive force and that Chauvin "deserved jail
time." A-537. Defendants' imputation of racist views to Leroy was a
viewpoint-discriminatory projection of their own beliefs. The First
Amendment does not abide such litmus tests. See FIRE, Taking a
knee in sports? For What./?, YOUTUBE, https://www.youtube.com/watch?v
=O6'7dGv5kIOU (last visited Jul. 24, 2024).
     Defendants were so committed to the notion that Leroy was
mocking George Floyd that they used Leroy's denials as fodder for an
argument that he wasn't engaged in any expressive activity when he
posted a captioned photo on social media. See Dkt. 70 at 20. That
argument is misguided in two ways.
     First, joking-even "edgelording"11- -on social media is protected
speech even if does not touch on a matter of public concern. See Mahanoy,
141 S. Ct. at 2048 ("It might be tempting to dismiss B.L.'s words as
unworthy of the robust First Amendment protections discussed herein.
But sometimes it is necessary to protect the superfluous in order to
preserve the necessary...."). Non-employees "do[] not need to establish


      11 "An edgelord is someone, typically on the Internet, who tries to
impress or shock by posting exaggerated opinions such as nihilism or
extlremist views." Edgelord, Wikipedia, https://en.wikipedia.org/wiki/Ed
gelord (last accessed Aug. 2, 2024).

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that [their] speech addressed 'a matter of public significance' in order to
receive the protection of the First Amendment." Friend, 61 F.4th at 88.
"The First Amendment's protections apply to jokes, parodies, satire, and
the like, whether clever or in poor taste." Bailey U. Iles, 87 F.4th 275, 283
(5th Cir. 2023) (Facebook post during early part of pandemic joking that
officers were ordered to shoot the infected on sight constitutionally
protected).
     Second, it violates the First Amendment to discriminate against the
perceived viewpoint of a speaker even if it is not the speaker's actual
viewpoint. See Heffernan U. City of Paterson, 578 U.S. 266 (2016). It is the
"government's reason" for adverse action that "counts" because it is the
government that may not "prescribe what shall be orthodox in politics."
Id. at 273, 271 (quoting W Va. Bd of Ediic., 319 U.S. at 642). Defendants'
"factual mistake does not diminish the risk" of chilling other students'
non-conforming speech. Id. at 274. Indeed, deterring others was an
explicit aim of Leroy's punishment. A-464.
     Courts explicitly link regulating subjective offense to viewpoint
discrimination: "giving offense is a viewpoint." Matai, 582 U.S. at 243;
accord Wandering Dago, 879 F.3d at 32. Action "reflect[ing] the
Government's disapproval of a subset of messages it finds offensive...is
the essence of viewpoint discrimination." Metal, 582 U.S. at 249
(Kennedy, J., concurring).



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       Defendants' theory of this case-that they must punish student
speech that deviates from their "educational mission" and that stokes
outrage in the community-"can easily be manipulated in dangerous
ways" and creates a recipe for "abuse." Morse, 551 U.S. at 423 (Alito, J.,
concurring). As Livingston Manor has, "some public schools have defined
their educational missions as including the inculcation of whatever
political and social views are held by the members of these groups." Id.
But:
            During the Tinker era, a public school could have
            defined its educational mission to include solidarity
            with our soldiers and their families and thus could have
            attempted to outlaw the wearing of black armbands on
            the ground that they undermined this mission.
            Alternatively, a school could have defined its
            educational mission to include the promotion of world
            peace and could have sought to ban the wearing of
            buttons expressing support for the troops on the ground
            that the buttons signified approval of war.
Id. If educational missions can justify disciplining students who express
contrary views, we have returned to the world Tinker rejected, with
schools as "enclaves of totalitarianism" and students as "closed-circuit
recipients." 393 U.S. at 511.
       This is not a hypothetical concern. Not long ago, school districts in
Tennessee and Florida branded pro-LGBT advocacy as "disruptive"
speech because it contradicted school administrators' views and the


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mores of the community. Young, 181 F. Supp. 3d 459; Gillman, 567 F.
Supp, 2d 1359. In both cases, district courts held that the viewpoint
discriminatory censorship of student speakers was unconstitutional. 181
F. Supp 3d at 464; 567 F. Supp. 2d at 1376-78. Those courts got it right;
viewpoint discrimination is "particularly offensive to the Constitution"
"[i]n a school setting." Gillman, 567 F. Supp. 2d at 1376. Leroy's claims
succeed for the same reason.
     One final incongruity: under the rule espoused by the district court
and Defendants, speech becomes a uniquely clisfavoreci activity, despite
being an enumerated constitutional right. Contra Tancion U. Newsom,
593 U.S. 61 (2021). Imagine that one weekend, a school's 18-year-old
homecoming queen and king fly to Las Vegas and elope in a wedding
chapel. Or imagine their risky off-campus behavior leads to an unplanned
pregnancy. Or imagine that one catches the other cheating with the
homecoming jester. Though these scandals would surely provoke
significant drama within the school, nobody thinks that such off-campus
and private student decisions fall within the school's disciplinary
authority. Frank D. Lomonte, Students Do Not Shed Their Constitutional
Rights at the Login Screen: Slamming the Schoolhouse Gate on School
Control over Social Media Speech, 2 ED. L & POL'Y REV. 36, 77-78 (2015)
(providing a similar example and distinguishing between teen "drama"




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and criminal behavior that "portends dangerousness at schoo1").12 The
"educationally and legally appropriate boundary line" should be no
different "for speech." Id. at 78. Off-campus speech that portends violence
can be proscribed. See, e.g., Wisniewski. But what merely portends drama
cannot. See, et., Mahanoy,' Thomas.
     So why would Defendants act on this off-campus Snapchat drama,
but not on ordinary non-expressive off-campus drama? Viewpoint
disagreement is the difference; other off-campus drama in students' lives
does not implicate such objectionable views in the minds of school
administrators. For the school here, speaking out was not enough;
Leroy's post demanded bringing to bear every tool in the school's arsenal
to reassure community members that Livingston Manor was not
"condoning racism." A-461.
     The First Amendment prevents the full balkanization of public-
school systems in this country into fiefdoms run by the ideological diktats
of each superintendent and principal. It prevents the "[c]ompulsory
unification of opinion" that "achieves only the unanimity of the
graveyard." Bernette, 319 U.S. at 641.




     12 Available at https://storage.googleapis.com/wzukuselrs/useb
27240630/documents/58bdd6308005dtx1lNFT/ELPR%20Vo1%202.pdf.

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                               Conclusion
     For the foregoing reasons, the Court should reverse the decision
granting summary judgment to Defendants, and remand for entry of
summary judgment in Leroy's favor.
Dated: August 15, 2024              Respectfully submitted,

                                    /s/ Adam E. Schulman
                                    Adam E. Schulman
                                    HAMILTON LINCOLN LAW INSTITUTE
                                   1629 K Street NW, Suite 300
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                                    (845) 747-9403

                                   Attorneys for Plaintiff Case Leroy




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                               Addendum
Table 1 Compilation of Record of Emails as set forth in Weisbrod Decl,
Dkt.64

Exhibit                                       Email
  No.      Recipient       Sender           Summary               Response
                         Original        Forwarding
  M       Davis          Sender          email from            None
                         Unknown         student
                         Original        Forwarding
  N       Davis          Sender          email from            None
                         Unknown         student
          Davis,                                               None other
                                         Forwarding
   O      Christian      Unknown         email
                                                               than thanking
          Towsley                                              original sender
                                         States "All POC
                                         students at
                                         LMCS are
                                                          None other
                                         harmed and may
   P      Davis          Unknown         even feel unsafe than thanking
                                                          original sender
                                         by the behavior
                                         demonstrate" in
                                         photos.
                                                          "Yes the school
          Davis,                                          district
          Evans,                                          administration
          Christopher                                     is aware of the
          Hubert,                                         recent posts on
          Christian   Stand                               social media.
                                         Asks for "swift
          Towsley,    Against                             I can assure
   Q                                     and severe
          Danielle    Racism in                           you these
                                         punishment."
          Da1Cero,    Education                           incidents will
          Lauren                                          be thoroughly
          Marerro,                                        investigated
          and James                                       and dealt with
          Buck                                            quickly and
                                                          appropriately."

                                   Add. 1
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 64 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
  No.                                        Summary
                                         "The post had
                                         made me feel
                                         like it came from
                                         a place of hatred
                                         and makes me
                                                               None other
                                         feel unsafe
   R      Davis          Unknown                               than thanking
                                         because at the
                                         end of the day
                                                               original sender
                                         these are people
                                         lives and should
                                         not be treated as
                                         a running joke."
                                         "I feel
                                         strongly
                                         disgusted and
                                         sick that they
                                         have thought to
   S      Davis          Unknown                               None
                                         make fun and
                                         quote on quote
                                         joke about Gorge
                                         Floyds tragic
                                         death..."
                                         Complaining
                                         this group            None,
   T      Davis          Unknown         frequently            forwarded to
                                         makes such            Evans
                                         jokes.
                                         Identifying
   T,     Davis          Unknown         students in           None
continued
                                         photos.
                                         "This is              Evans: "Thank
                         Former          inhumane and          you for your
   U      Davis and      student         deeply saddens        email and
          Evans          Payton          in. I am not a        sharing your
                         Powell          member of the         concerns. The
                                         black                 LMCS

                                   Add. 2
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 65 of 104




Exhibit   Recipient        Sender              E-mail
                                                             Response
 No.                                         Summary
                                         community, nor administration
                                         am I coming to   was just made
                                         you spealdng on aware of both of
                                         behalf of them.  these posts
                                         I'nl coming to   earlier this
                                         you solely based evening and an
                                         on the fact that investigation is
                                         times have       currently
                                         changed and this underway.
                                         behavior is      These incidents
                                         unacceptable."   will be dealt
                                                          with promptly
                                                          and
                                                          appropriately
                                                          and all those
                                                          involved will be
                                                          held
                                                          accountable.
                                                          Both the LMCS
                                                          & RCS
                                                          administrations
                                                          take matters
                                                          like this very
                                                          seriously. The
                                                          health, safety
                                                          and wellbeing
                                                          of all of our
                                                          students is very
                                                          important to us
                                                          and racist
                                                          behaviour has
                                                          no place in our
                                                          schools."
                                         Sharing several Evans: "Yes we
          Davis and      Courtney
  V                                      screenshots of   are aware of
          Evans          Lambert
                                         posts, including the recent posts

                                   Add. 3
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 66 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                         (parent of      from Gem              on social media
                         5th grader)     Amber Sun             involving what
                                         Helper                appears to be
                                                               some LMCS
                                                               students.
                                                               The
                                                               administration
                                                               is currently
                                                               investigating
                                                               the incident
                                                               and will be
                                                               addressing any
                                                               and all
                                                               students who
                                                               may be
                                                               involved.
                                                               This type of
                                                               behavior is
                                                               completely
                                                               unacceptable
                                                               and
                                                               inappropriate
                                                               in any setting
                                                               and will be
                                                               addressed.
                                                               Thank you for
                                                               sharing your
                                                               concerns."
                         Jaspreet        "I know far too
                         Gill,           well the              Davis: "Thank
                         Associate       rampant racism        you for
          Davis and      Editor,         that runs             contacting me.
  w       Evans          Inside          through               The incident is
                         Defense         Livingston            being
                         and former      Manor and that        investigated."
                         student         does not stop

                                    Add. 4
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 67 of 104




Exhibit   Recipient        Sender              E-mail
                                                      Response
 No.                                 Summary
                                 when you enter
                                 LMCS. When I
                                 was a student,
                                 no one was
                                 reprimanded for
                                 their racist
                                 insults and
                                 racial
                                 microaggressions
                                 toward me."
                                 "This is
                                 unacceptable on
                     Meagan
                     Edwards,    every level that
                                 exists, and this
                     School
                                 kind of mockery
                     Counselor,
  X
          Davis and LMCS         and behavior       None
          Evans                  just promotes
                     (forwarding
                                 more and more
                     email from
                     Belvina     hatred towards
                                 minorities and
                     Garcia)
                                 people of color.
                                 It's racism."
                                 "I don't feel
                                 comfortable
                                 being around
  Y       Davis      Unknown                        None
                                 classmates who
                                 happily make
                                 light of murder."
                                 "I hope that
                                 appropriate
          Davis,                 action is taken to
          Evans, and Hannah      demonstrate our
  Z                                                 None
          Christian  Tuso        school's
          Towsley                dedication to
                                 inclusivity and
                                 overcoming our

                                   Add. 5
          Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 68 of 104




Exhibit   Recipient       Sender              E-mail
                                                                 Response
 No.                                        Summary
                                        history of
                                        discrimination.   77



                                                               Evans: "Thank
                                                               you for your
                                                               email and
                                                               sharing your
                                                               thoughts and
                                                               concerns with
                                                               me. The
                                                               District is
                                                               aware of the
                                                               social media
                                                               posts and is
                                                               actively
                                                               involved in
                                        "This act is
                                                               investigating
                                        absolutely
                                                               the incidents
                                        DISGUSTING,
                                                               and addressing
                        Grady           and must have
  AA      Evans                                                it with the
                        Parks           some sort of
                                                               students
                                        disciplinary
                                                               involved.
                                        action taken at        As a school
                                        once."
                                                               district we take
                                                               these matters
                                                               very seriously.
                                                               These
                                                               behaviours
                                                               have no place
                                                               in our school
                                                               and as a
                                                               district, we are
                                                               taking steps to
                                                               address this
                                                               important issue
                                                               throughout our


                                  Add. 6
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 69 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                               school
                                                               community."
                                                               Evans: "The
                                                               school district
                                                               administration
                                                               is aware of
                                                               these posts and
                                                               an active
                                                               investigation
                                                           into these
                                         "The Livingston events is
                                         Manor School      currently
                                         district needs to taking place.
                                         hold these        All cases
                                         students          involving
                                         accountable and student
                                         create policies   discipline are
                                         that no longer    confidential in
          Davis and      Sophia
  BB      Evans          Xiomara
                                         condone any       nature and any
                                         racist/hateful    disciplinary
                                         behavior from its consequences
                                         students or       or actions on
                                         community         the part of the
                                         ll1€ I11b €IIS.   school district
                                         The world is      cannot be
                                         watching. Take discussed.
                                         action now."      I can assure
                                                           you that the
                                                           school district
                                                           is taking this
                                                           incident very
                                                           seriously and
                                                           appropriate
                                                           actions will be
                                                           taken.


                                   Add. 7
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 70 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                               Racism cannot
                                                               and will not be
                                                               tolerated by the
                                                               Livingston
                                                               Manor Central
                                                               School District
                                                               and steps are
                                                               being taken to
                                                               address this
                                                               with the school
                                                               community."
                                                               Evans: "The
                                                               school district
                                                               administration
                                                               is aware of
                                                               these posts and
                                                               an active
                                                               investigation
                                                               into these
                                                               events is
                                                               currently
                                                               taking place.
                         Mykenzi         Same text as          All cases
  CC      Evans
                         Williams        Xiomara email         involving
                                                               student
                                                               discipline are
                                                               confidential in
                                                               nature and any
                                                               disciplinary
                                                               consequences
                                                               or actions on
                                                               the part of the
                                                               school district
                                                               cannot be
                                                               discussed.


                                   Add. 8
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 71 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                          I can assure
                                                          you that the
                                                          school district
                                                          is taking this
                                                          incident very
                                                          seriously and
                                                          appropriate
                                                          actions will be
                                                          taken.
                                                          Racism cannot
                                                          and will not be
                                                          tolerated by the
                                                          Livingston
                                                          Manor Central
                                                          School District
                                                          and steps are
                                                          being taken to
                                                          address this
                                                          with the school
                                                          community."
                                                          Evans: "The
                                         "In my opinion   school district
                                         and many         administration
                                         others, however
                                                          is aware of
          Evans,
                                         valuable it is,  these posts and
                                         both of these
          Davis,                                          an active
          Danielle
                                         boys should be   investigation
          Dalcero,   Dylan               held accountable into these
 DD                                      immediately. If
          Jane Mann, Parks               not, it would    events is
          and                            send a message currently
          Christian                                       taking place.
          Towsley                        to the entire    All cases
                                         county that this involving
                                         type of racist,
                                         white-           student
                                         supremacist      discipline are
                                                          confidential in

                                   Add. 9
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 72 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                        Summary
                                         behavior is           nature and any
                                         okay."                disciplinary
                                                               consequences
                                                               or actions on
                                                               the part of the
                                                               school district
                                                               cannot be
                                                               discussed.
                                                               I can assure
                                                               you that the
                                                               school district
                                                               is taking this
                                                               incident very
                                                               seriously and
                                                               appropriate
                                                               actions will be
                                                               taken.
                                                               Racism cannot
                                                               and will not be
                                                               tolerated by the
                                                               Livingston
                                                               Manor Central
                                                               School District
                                                               and steps are
                                                               being taken to
                                                               address this
                                                               with the school
                                                               community."
                                         "You people as a      Evans: "The
                                         district need to      school district
                                         hold your             administration
          Davis and      Maritza         students              is aware of
  EE
          Evans          Joya            accountable for       these posts and
                                         their actions. I      an active
                                         truly hope that       investigation
                                        _1    wl do right      into these

                                   Add. 10
          Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 73 of 104




Exhibit   Recipient       Sender              E-mail
                                                                 Response
 No.                                        Summary
                                        and hold them         events is
                                        accountable for       currently
                                        their behavior.       taking place.
                                        This community        All cases
                                        is depending on       involving
                                        you to make this      student
                                        right."               discipline are
                                                              confidential in
                                                              nature and any
                                                              disciplinary
                                                              consequences
                                                              OI' actions on
                                                              the part of the
                                                              school district
                                                              cannot be
                                                              discussed.
                                                              I can assure
                                                              you that the
                                                              school district
                                                              is taking this
                                                              incident very
                                                              seriously and
                                                              appropriate
                                                              actions will be
                                                              taken.
                                                              Racism cannot
                                                              and will not be
                                                              tolerated by the
                                                              Livingston
                                                              Manor Central
                                                              Sehool District
                                                              and steps are
                                                              being taken to
                                                              address this
                                                              with the school
                                                              community."

                                 Add. 11
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 74 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                               Evans: "The
                                                               school district
                                                               administration
                                                               is aware of
                                                               these posts and
                                                               an active
                                                               investigation
                                                               into these
                                         "These 3              events is
                                         students are          currently
                                         displaying            taking place.
                                         sociopathic           All cases
                                         tendencies            involving
                                         mixed with            student
                                         classic small         discipline are
                                         town racism           confidential in
                                         veiled as             nature and any
          Davis and      Kelsie          ignorance. It is      disciplinary
  FF
          Evans          Nolan           clear you all on      consequences
                                         the                   or actions on
                                         administrative        the part of the
                                         level are not         school district
                                         doing enough to       cannot be
                                         prevent racism        discussed.
                                         and the intense       I can assure
                                         level of moronic      you that the
                                         behavior              school district
                                         displayed here."      is taking this
                                                               incident very
                                                               seriously and
                                                               appropriate
                                                               actions will be
                                                               taken.
                                                               Racism cannot
                                                               and will not be
                                                               tolerated by the

                                  Add. 12
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 75 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                           Livingston
                                                           Manor Central
                                                           School District
                                                           and steps are
                                                           being taken to
                                                           address this
                                                           with the school
                                                           eonlnlunity."
                                                           Evans: "The
                                                           school district
                                                           administration
                                                           is aware of
                                                           these posts and
                                                           an active
                                                           investigation
                                                           into these
                                         "It is extremely events is
                                         upsetting and     currently
                                         disappointing to taking place.
                                         see that the lack All cases
          Davis,                         of respect for    involving
          Evans, and     Catherine       human lives SO    student
  GG
          Christian      Skalda          close to home. I discipline are
          Towsley                        hope that the     confidential in
                                         school will       nature and any
                                         address this in   disciplinary
                                         an appropriate    consequences
                                         manner."          or actions on
                                                           the part of the
                                                           school district
                                                           cannot be
                                                           discussed.
                                                           I can assure
                                                           you that the
                                                           school district
                                                               is taking the

                                  Add. 13
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 76 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                            incident very
                                                            seriously and
                                                            appropriate
                                                            actions will be
                                                            taken.
                                                            Racism cannot
                                                            and will not be
                                                            tolerated by the
                                                            Livingston
                                                            Manor Central
                                                            Sehool Distriet
                                                            and steps are
                                                            being taken to
                                                            address this
                                                            with the school
                                                            community."
                                                            Davis: "The
                                                            school district
                                                            administration
                                                            is aware of
                                                            these posts and
                                                            an active
                                                            investigation
                                         "This behavior is
                                                            into these
                                         alarming and
                                         makes me feel
                                                            events is
          Davis and      Elena                              currently
  HH                                     unsafe as a
          Evans          Haskins                            taking place.
                                         citizen that your All cases
                                         school is training
                                                            involving
                                         people."
                                                            student
                                                            discipline are
                                                            confidential in
                                                            nature and any
                                                            disciplinary
                                                            consequences
                                                            or actions on

                                  Add. 14
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 77 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
 No.                                         Summary
                                                         the part of the
                                                        school district
                                                        cannot be
                                                         discussed.
                                                         I can assure
                                                         you that the
                                                        school district
                                                        is taking this
                                                        incident very
                                                         seriously and
                                                        appropriate
                                                        actions will be
                                                         taken.
                                                         Racism cannot
                                                        and will not be
                                                         tolerated by the
                                                         Livingston
                                                         Manor Central
                                                        School District
                                                        and steps are
                                                         being taken to
                                                         address this
                                                         with the school
                                                       . eonimunity."
                                                         Evans: "Yes
                                     "I'd like to know Bob and I are
                                     if they have been aware of the
                                     on our campus       photos and the
                         Jay
          Evans and
                         Quaintance,
                                     and what the        incidents are
  II      Robert         President, consequences        currently being
          Dufour,                    they are facing     investigated.
                         SUNY
          BOCES                      for this            What I can tell
                         Sullivan
                                     disgusting          you is that the
                                     display of          photos were
                                     hate."              taken over a
                                                       _ moth apart

                                  Add. 15
           Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 78 of 104




Exhibit   Recipient        Sender              E-mail
                                                                  Response
  No.                                        Summary
                                                               and the context
                                                               in which they
                                                               occurred are
                                                               very different.
                                                               These issues
                                                               are being taken
                                                               very seriously
                                                               and
                                                               appropriate
                                                               actions will be
                                                               taken with
                                                               those involved."


Table 2 - Breakdown of record emails received and responded to by
district recipients

                 No. of            No. of Total Word               Average
                External         Emails   Count For                Response
  Recipient      Emails         Responded     All
                                                                    Length
                                                                    (No. of
                Received            to    Responses                 Words)
Evans                15              11               939             85
Davis                21              5                145             29
Towsley               5              0                 0              0
Hubert               1               0                 0              0
Da1Cero               2              0                 0              0
Marerro              1               0                 0              0
Buck                 1               0                 0              0
Mann                 1               0                 0              0




                                  Add. 16
            Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 79 of 104



                       Certificate of Compliance
                       with Fed. R. App. 32(a)(7)
     Certificate of Compliance with Type-Volume Limitation, Typeface
Requirements, and Type Style Requirements:
     l.    This brief complies with the type-volume limitation of Fed. R.
App. P. 32(a)(7)(l3) because:
     This brief contains 10,081 words, excluding the parts of the brief
exempted by Fed. R. App. P. 32(f).
     2.    This brief complies with the typeface requirements of Fed. R.
App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.
32(a)(6) because:
     This brief has been prepared in a proportionally spaced typeface
using Microsoft Word 2019 in l4-point Century Schoolbook font.
     Executed on August 15, 2024.

                                     /s/ Adam E. Schulman
                                     Adam E. Schulman
            Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 80 of 104




                          Certificate of Service
      I hereby certify that on August 15, 2024, I electronically filed the
foregoing with the Clerk of the United States Court of Appeals for the
Second Circuit using the CM/ECF system, which will provide notification
of such filing to all who are ECF-registered filers.


                                     /s/ Adam E. Schulman
                                     Adam E. Schulman
Case: 24-1241, 08/15/2024, DktEntry: 30.1, Page 81 of 104




   SPECIAL APPENDIX
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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
CASE LEROY,                                                        DOC #x
                                                                   DATE FILED: 04/05/2024
                              Plaintiff,

       -against-                                               No. 21-CV-6008 (NOR)

LIVINGSTON MANOR CENTRAL SCHOOL                                    OPINION & ORDER
DISTRICT and JOHN P. EVANS, in his capacity as
Superintendent of Scnools of Livingston Manor
Central Senool District,

                              Defendants.


NELSON S. ROMAN, United States District Judge:

       Case Leroy ("Plaintiff') brings this action against Livingston Manor Central School

District (the "District") and John P. Evans ("Superintendent Evans"), in his capacity as

Superintendent of Schools of the District (together, "Defendants") for defamation and violations

of Plaintiffs civil rights under the New York State Constitution, the First Amendment to the

United States Constitution, and 42 U.S.C. § 1983 ("Section 1983"). Specifically, Plaintiff alleges

that Defendants violated his rights and defamed his character when they suspended Plaintiff from

school and extracurricular activities after he posted a photograph on a social media platform.

       Before the Court are Defendants' motion for summary judgment (ECF No. 63) and

Plaintiff's partial motion for summary judgment (ECF No. 58). For the following reasons,

Defendants' motion is granted and Plaintiff" s motion is denied.

                                           BACKGROUND

        The following facts are derived from Defendants' Local Rule 56.1 Statement ("Def 56. l ,"

ECF No. 68), Plaintiffs Response to Defendants' Rule 56.1 Statement ("Pl. 56.1 Resp."),

Plaintiff's Local Rule 56.1 Statement ("Pl. 56.l," ECF No. 78), and Defendants' Response to



                                                1
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                                                     SPA-2

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Plaintiff's Rule 56.1 Statement ("Def. 56.1 Resp.," ECF No. 69),1 the parties' declarations, and

the parties' exhibits,2 and are not in dispute, except where noted.3

         Defendant John Evans is the Superintendent of Schools for the District, a school district

located in Sullivan County, New York. (Def. 56.1 11 l.) The District has one school building that

houses grades pre-K through 12th grade and consists of approximately 420 students. (Id. 1] 2.)

Plaintiff Case Leroy was a 12th grade student at the District and a student in a "public safety

program" offered by Sullivan BOCES during the 2020-2021 school year. (Id. W 6-7, Pl. 56.1

Resp. 1] 8.)

               a. The Photograph ofPIainty§'and Student A

         On April 19, 202 l, Plaintiff, along with his three friends Student A, Student B, and Student

C, drove to a dance studio in Hurleyville to pick up Student C's sister. (Def. 56.1 W 11-12.) In

the late afternoon or early evening, Student B took a photograph (the "Photo") in the parking lot

of the dance studio and then immediately sent it to Plaintiff and Student A via Snapchat. (Id. W 9,

12.) The Photo depicts Plaintiff lying on the ground while his friend Student A kneels over him.


          1 Plaintiffs response to Defendants' Rule 56.1 statement was not filed electronically on the docket but was
submitted to the Court via email.
          2 Citations to "Def. Ex." refer to the Exhibits attached to the Declarations of Chelsea Weisbord in Support
of Defendants' Motion for Summary Judgment. (ECF Nos. 64 and 71.) Citations to "Pl. Ex." refer to the Exhibits
attached to the Declaration of Jerome T. Dorfman in Support of Plaintiffs Motion for Summary Judgment. (ECF
No. 77.) Where applicable, the Court refers to page numbers using the Bates numbers applied by the parties.
          Citations to the Deposition of Case Leroy ("C.L. Tr.") refer to Def. EXS. C and D. Citations to the
Deposition of Gordon Leroy ("G.L. Tr.") refer to Def. Ex. E. Citations to the Deposition of Amy Leroy ("A.L. Tr.")
refer to Def. EX. F. Citations to the Deposition of Student A ("Student A Tr.") refer to Def. EX. G. Citations to the
Deposition of Student B ("Student B Tr.") refer to Def. Ex. H.
          3 In response to many of the statements in Defendants' Rule 56.1 statement, Plaintiffs response indicates
he either "has no personal knowledge" to admit or deny the statement or "neither admits or denies this statement and
defers to what [D]efendants' witnesses testify to at trial, subject to cross-examination." (See generally Pl. 56.1
Resp..) Pursuant to Local Rule 56.1, each statement of fact "will be deemed admitted for purposes of the motion
unless specifically controverted" by the opposing party. Accordingly, the Court deems those statements not
explicitly denied by Plaintiff admitted. Blackman v. Calyon Sec., 817 F.Supp.2d 322, 328 n.42 (S.D.N.Y. 2011)
("56.1 statements not explicitly denied by plaintiff are deemed admitted.") (citation omitted). The Court further
notes that even where Plaintiff explicitly denies a statement in his response, Plaintiff fails to cite to specific
admissible evidence in support of its denial in further contravention of the rules. S.D. & E.D. N.Y. R. 56.1(d) (each
statement in a Rule 56.1 statement, "including each statement controverting any statement of material fact, must be
followed by a citation to evidence which would be admissible.").


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(Id. l 8, Def. Ex. J.) All three students posted the Photo on their Snapchat stories around the same

time that evening while they were still in the dance studio parking lot. (Def. 56.1 W 13, 24.)

Plaintiff posted the Photo to his Snapchat story with the caption "Cops got another" and Student

A posted the Photo to his Snapchat story with the caption "Another one down." (Id. W 14, 16.)

Student B shared the Photo to his Snapchat story without a caption. (Id. l 21.) When Plaintiff

posted the Photo, it was visible to all of his Snapchat friends-approximately 60 to 100 people,

including a "good amount" of students at Livingston Manor High School. (Id. 1116, Pl. 56.1 Resp.

'I 16, C.L. Tr. 37:24-38:3.)

        Plaintiff and the other two students posted the photos on April 19, the day before the jury

returned a verdict in Derek Chauvin's trial for the murder of George Floyd.4 (Def. 56.1 1]23.) An

unknown person added the "Black Lives Matter" logo to Student A's post, although Student A

told District administrators that he himself had added the logo. (Id. W 19-20, Pl. 56.1 Resp. W 19-

20; Student A Tr. 31 :4-24.) Shortly after posting the Photo with the caption, Plaintiff deleted his

Snapchat post because his phone started "blowing up" with messages from other people

threatening him and cursing him out. (Def. 56.1 l25, C.L. Tr. 116:2-23, 117: 18-24.) Plaintiff also

received several death threats that evening. (Def. 56.1 1]28.) Student A and Student B also deleted

their Snapchat posts shortly after posting-Student A because he was receiving negative messages

and Student B because he was receiving messages telling him to take the Photo down. (Id. W 25,

30, 32.) After posting the Photo, Plaintiff, Student A, and Student B received a barrage of phone

calls, and people were showing up to their homes and Plaintiff's parents' places of employment.

(Id. 1136.)




4 On April 20, 2021, Dereck Chauvin, a white police officer, was found guilty of the murder of George Floyd, a
black man. In May 2020, Chauvin had kneeled on Floyd's neck for over nine minutes during an arrest of Floyd in
Minneapolis, Minnesota.


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           b. Immediate Response from District Personnel, Students, and the Community

       By 9:00 pm on April 19, 2021, emails complaining about the photos circulating social

media began flooding Superintendent Evans, Principal Shirlee Davis', and other District

administrators' and employees' inboxes and continued throughout the night. (Evans Arr. W 7-8,

Davis Arr. W 3-4, Towsley Arr. 1] 3, Def. Exs. M-II.) Contrary to Plaintiff's contention, District

personnel, students, and community members immediately recognized the Photo as referencing

the events of the ongoing trial of Derek Chauvin for the murder of George Floyd. (Evans Arr. 1]5,

Davis Arr. 112; Towsley Arr. 114, see generally Def. EX. M-II.) Members of the community sent

emails to District administrators, employees, and officials complaining about the photos, calling

them racist and disgusting, and identifying Plaintiff by name as one of the students involved. (Id.,

Def. 56.1 43.) The emails further criticized the District for purportedly tolerating the behavior,

and demanded the District take disciplinary action. (Def. 56.1 1]45, Evans Arr., W7-8, Davis Arr. ,

W 3-4, Towsley Arr., ii 3, see Def. Exs. N, P-S, U-X, Z-GG.) Superintendent Evans and Principal

Davis responded to most of the emails they received, which took their time away from regular

District operations. (Def. 56. 1 92.)

       The following day at school, students discussed the photos during and between classes, and

high school staff and teachers discussed the social media posts in their classrooms (Id. 111195-96.)

Multiple staff members also approached district administrators requesting to know how the District

planned to respond to the unrest created by the photos. (Id. 1]97.)

       That same day, the school held an assembly attended by all students, teachers, guidance

counselors, and building administrators in grades 7th through 12th to address the incident. (Id. 119,

Pl. 56.1 l 3.) During the assembly, Evans stated that "a lot of people viewed [the photographs] as

racist in nature," that "it had no place in our school" and that "it was being addressed and being



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investigated." (Pl. 56.1 l 3, Def. 56.1 Resp. ii 3.) District administrators also informed students

that school counselors would be available for students who needed counseling in relation to the

photos. (Def. 56.1 11 104.) After the assembly, students held a planned demonstration to express

their disagreement with the photos and the photos' connotations, during which they knelt for nine

minutes to honor George Floyd. (Id. 1] 105.) After the demonstration ended, students relocated to

the school's health room to further discuss the photos, racism, insensitivity, and George Floyd. (Id.

11 106.) Throughout the school day, state trooper and law enforcement officers from the Sheriff's

Department remained on school grounds, and the school received multiple media requests

regarding the photos. (Id. W 107, 109.)

        Superintendent Evans also released an official statement to the community, which he

posted on the District's website on April 20, 2021. (Id. 108.) In the statement, Superintendent

Evans indicated that the District was aware some students posted inappropriate photos and

comments on social media. (Def. Ex. JJ.) He further indicated that the District takes such matters

very seriously, and that an investigation was ongoing, although cases involving student discipline

are confidential and cannot be discussed. (Id.) Finally, Superintendent Evans apologized on behalf

of the District for the student behavior and stated that "racism cannot and will not be tolerated" by

the District. (Id.)

            e. Investigation and Disczpline of PIaintwand the Other Students Involved

        On April 20, 2021, Superintendent Evans and Principal Davis launched an investigation

and began by interviewing several students, including Plaintiff, Student A, and Student B, who all

claimed it was a joke and they had no intention of being racist or offending anyone. (Def. 56.1 ii

116.) During the interview with Evans and Davis, Plaintiff admitted to posting the photograph.

(Id. ii ll8.) At the end of Plaintiff' S interview, Superintendent Evans explained that the issue was




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very serious, viewed as racist, and caused a significant disruption through the school district. (Id.

11 120.) On April 21, 2021, Principal Davis suspended Plaintiff from school for five days. (Id. 11

123.)

         On April 21, 2021, Superintendent Evans contacted Capital Region BOCES District

Superintendent Anita Murphy for assistance with regards to a social media incident occurring the

evening of April 19, 2021 and April 20, 2021. (Def. EX. MM. at 1.) The investigator, Bethany A.

Centrone, Legal Counsel for Capital Region BOCES, was asked to investigate and provide a report

regarding the incident to inform Evans with respect to potential discipline. (Id.) As part of her

investigation, Centrone interviewed Superintendent Evans as well as students. (Id.) On April 23,

Centrone issued a report that concluded there was sufficient evidence to determine Plaintiff

engaged in behaviors that violated the Code of Conduct. (Def. 56.1 126, Pl. 56.1 Resp. 1] 126.)

Centrone thus recommended that Plaintiff and the involved students be referred to a

Superintendent's hearing to determine if additional discipline was warranted.5 (Def. 56.1 ii 133.)

         On April 27, 2021, Superintendent Evans held a Superintendents hearing to consider

suspending Plaintiff beyond five school days, and Kate Reid served as a Hearing Officer. (Def

56.1 W 136-137, Pl. 56.1 Resp. 1111 135-136.) At the hearing, Plaintiff testified voluntarily and

under oath that he posted the Photo with the caption "Cops got another" on social media. (Def.

56.1 W 138-39, Pl. 56.1 Resp. W 137-38.) During the Superintendent's hearing, Reid found

Plaintiff guilty of Article VI(A)(5) of the Code of Conduct, which prohibits engaging in any willful


5 Specifically, Centrone determined that the following provisions of the Code of Conduct were implicated: (1)
engaging in any willful act which disrupts the normal operation of the school community, Article VI(A)(5); (2)
display or use of personal electronic devices ... in a manner that is in violation of district policy, Article 1V(C)(3),
(3) discrimination, which includes using race, color ... to deny rights, equitable treatment or access to facilities
available to others, Article IV(E)(4), (4) harassment, which includes a sufficiently severe action ... directed at an
identifiable individual or group which [is] intended to be, or which a reasonable person would perceive as ridiculing
or demeaning, and the creation of a hostile environment, Article IV(E)(5), and (5) engage in off-campus misconduct
that interferes with, or can reasonably be expected to substantially disrupt the educational process in the school or at
a school function Article IV(H). (Def. EX. MM at 117-18.)


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act which disrupts the normal operation of the school community ("Charge 1"). (Def. 56.1 11143)

Reid also sustained the District's fifth charge, finding that Plaintiff violated VI(H) by engaging

in off-campus misconduct that interfered with or can reasonably be expected to substantially

disrupt, the educational process in the school or at a school function ( "Charge 5"). (Id. 11 ll4.)

          On April 28, 2021 , Reid issued a finding of fact and recommendation which memorialized

her findings from the Superintendent's hearing regarding the charges and recommended Plaintiff

be suspended through May21, 2021 , with the option for an earlier return ifPlaintiff and his parents

agree to enter a disciplinary contract and/or agree to participate in restorative practices in

connection with the incident. (Def. 56.1 1] 145, Def. Ex. OO at 187.) Reid found the District

sustained its burden regarding Charges 1 and 5 by providing competent evidence demonstrating

the violations. (Def. 56.1 1] 148, pi. 56.1 14, Def. EX. OO at 185-86.) Reid further concluded that

"all told, the posts resulted in substantial interruptions in instruction and required substantial

attention and intervention by multiple school administrators." (Def. Ex. OO at 185-86.)

          Upon review of Hearing Officer Reid's recommendations, Superintendent Evans

suspended Plaintiff for a period of instruction through May 21, 2021, and from non-academic,

extracurricular activities for the remainder of the 2020-2021 school year, including the graduation

ceremony. (Def. 56.1 11 152, Pl. 56.1 Resp. 11 151, P1. 56.1 l 5.) Plaintiff appealed Superintendent

Evan's decision to the School Board, which upheld the findings and discipline imposed. (Pl. 56.1

'I 6_)

          After Plaintiff signed a contract of conduct, Evans permitted Plaintiff to return from

suspension from instruction on May 20, 2021. (Def. 56.1 1] 153, Pl. 56.1 Resp. 1] 152.) Plaintiff

attended his high school graduation after obtaining injunctive relief from Judge Julian Schreibman

of the New York State Court, County of Sullivan. (Def. 56.1 1] 156.)




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                                         PROCEDURAL HISTORY

         On June 16, 2021, Plaintiff commenced this action by filing a Complaint in the Supreme

Could of the State of New York, County of Sullivan before Justice Schreibman. ("Notice of

Removal," ECF No. 1, EX. A.) On June 25, 2021, Justice Schreibman issued an oral order granting

a preliminary injunction permitting Plaintiff to attend his school's graduation ceremonies.6 (Pl. Ex.

2 at 9:12-17.) Upon the granting of the preliminary injunction, Plaintiff filed an Amended

Complaint on July 2, 2021. (Amend. Compl. 114.) On July 13, 2021, Defendants removed the

action to this Court. (See generally Notice of Removal.)

         In his Amended Complaint, Plaintiff asserts causes of action for defamation and violations

of his civil rights. Plaintiff seeks money damages as well as (l) a declaration that the acts of

Defendants were unconstitutional, (2) the complete expungement from his transcripts and student

files of any reference to his suspension from attending classes and from participating in school

activities, and (3) for changes in the policies and procedures of the District, so that the same thing

does not happen to his siblings or any other student. (Amend. Compl. ii 9.)

                                             LEGAL STANDARD

         Pursuant to Rule 56 of the Federal Rules of Civil Procedure, summary judgment is

appropriate "if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). The moving party bears

the initial burden of pointing to evidence in the record, including depositions, documents,

affidavits, or declarations "which it believes demonstrate[s] the absence of a genuine issue of

material fact," Celotex Corp. v. Catlett, 477 U.S. 317, 323 (1986). The moving party may support

an assertion that there is no genuine dispute of a particular fact by "showing ... that [the] adverse


6 Plaintiff's Exhibit 2, attached to the Declaration of Jerome T. Dorfman, was not filed electronically on the docket,
although it was submitted to the Court via email.


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party cannot produce admissible evidence to support the fact." Fed. R. Civ. P. 56(c)(1)(B). If the

moving party fulfills its preliminary burden, the onus shifts to the nonmoving party to raise the

existence of a genuine issue of material fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

(1986). To oppose summary judgment, "[s]tatements that are devoid of any specifics, but replete

with conclusions" will not suffice. Bickerstaffv. Vassar Coll., 196 F.3d 435, 452 (2d Cir. 1999),

see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986) (holding the

nonmoving party "must do more than simply show that there is some metaphysical doubt as to the

material facts"), FDIC v. Great Am. Ins. Co., 607 F.3d 288, 292 (2d Cir. 2010) (holding the

nonmoving party "may not rely on conclusory allegations or unsubstantiated speculation" (internal

quotations and citations omitted)).

       A genuine dispute of material fact exists when "the evidence is such that a reasonable jury

could return a verdict for the nonmoving party." Anderson, 477 U.S. at 248, accord Gen. Star Nat'l

Ins. Co. v. Universal Fabricators, Inc., 585 F.3d 662, 669 (Zd Cir. 2009), Roe v. City of Waterbury,

542 F.3d 31, 35 (2d Cir. 2008); Benn v. Kissie, 510 F. App'x 34, 36 (2d Cir. 2013). Courts must

"draw all rational inferences in the non-movant's favor" when reviewing the record. Kirkland v.

Cablevision Sys. , 760 F.3d223, 224 (2d Cir. 2014) (citing Ana'erson, 477 U.S. at 248). Importantly,

"the judge's function is not [ ] to weigh the evidence and determine the truth of the matter" or

determine a witness's credibility. Anderson, 477 U.S. at 249. Rather, "[t]he inquiry performed is

the threshold inquiry of determining whether there is the need for a trial." Id. at 250. A court should

grant summary judgment when a party "fails to make a showing sufficient to establish the existence

of an element essential to that party's case." Celotex, 477 U.S. at 322.

       The same standard of review applies when the Court is faced with cross-motions for

summary judgment, as here. See Lauria v. Heffernan, 607 F. Supp. 2d 403, 407 (E.D.N.Y. 2009)




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(citations omitted). When evaluating cross-motions for summary judgment, the Court reviews each

party's motion on its own merits and draws all reasonable inferences against the party whose

motion is under consideration. Morales v. Quintel Entm'z, In., 249 F.3d 115, 121 (2d Cir. 2001).

                                                 DISCUSSION

         Plaintiff seeks summary judgment from the Court on her civil rights claim pursuant to

Section 1983 and her state law defamation claim. Plaintiff also seeks a judgment from the Court

striking Defendants' First through Twenty-Second affirmative defenses to Plaintiffs Amended

Complaint.7 (See Pl. Mot.) Defendants seek summary judgment to dismiss the action in its

entirety.8 (See Def. Mem.)

         As a threshold matter, Plaintiff fails to substantively address Defendants' arguments to

dismiss Plaintiffs claims for injunctive relief and punitive damages as well as violations of the

New York State Constitution. "Federal courts may deem a claim abandoned when a party moves

for summary judgment on one ground and the party opposing summary judgment fails to address

the argument in any way." Capek v. Epps, 662 F. Supp. 3d 463, 465 (S.D.N.Y. 2023) (quoting Xu

v. City of New York, 2020 WL 2088301, at *4 (S.D.N.Y. Apr. 30, 2020)). The Court therefore

dismisses Plaintiff' s claims for violations of state constitutional law, permanent injunctive relief,

and punitive damages as abandoned.


7 Plaintiff filed the following papers for the Court's consideration on the instant motions: Plaintiffs Rule 56. l
Statement ("Pl. 56.1," ECF No. 78), Plaintiff's Rule 56.1 Response ("Pl. 56.1 Resp."), Plaintiffs Motion for
Summary Judgment ("Pl. Mot.," ECF No. 58), Memorandum of Law in Support of his Motion for Summary
Judgment ("Pl. Mem.," ECF No. 79), Plaintiffs Reply ("Pl. Reply," ECF No. 75); Declaration of Jerome T.
Dorfman in Support ("Dorfman Decl." ECF No. 77), and Dorfman's Reply Declaration ("Dorfman Reply Decl.,"
ECF No. 74).
8 Defendants filed the following papers for the Court's consideration on the instant motions: Defendants' Rule 56. l
Statement ("Def. 56.1," ECF No. 68), Defendants' Rule 56.1 Response ("Def. 56.1 Resp.," ECF No. 69),
Defendants' Motion for Summary Judgment ("Def. Mot.," ECF No. 63), Defendants' Memorandum of Law in
Support of their Motion ("Def. Mem.," ECF No. 70), Defendants' Reply ("Def. Reply," ECF No. 73), Declaration
of Chelsea Weisbord ("First Weisbord DecL," ECF No. 64); Declaration of Chelsea Weisbord ("Second Weisbord
Decl.," ECF No. 71); Affidavit of John Evans ("Evans Arr," ECF No. 65); Affidavit of Shirlee Davis ("Davis Aff.,as
ECF No. 66), Affidavit of Christian Towsley ("Towsley Aff.," ECF No. 67), and Declaration of Steven C. Stem
("Stern Decl.," ECF No. 72).


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       The Court addresses the remaining issues raised by the parties in turn.

       A. Defendants' Request to Strike Dorfman's Declaration

       Under Federal Rule of Civil Procedure 56(c)(4), an affidavit or declaration used to support

or oppose a summary judgment motion must be made on personal knowledge, set out facts that

would be admissible in evidence, and must show that the affiant or declarant is competent to testify

on the matters stated. Fed. R. Civ. P. 56(c)(4). Defendants request the Court to strike, at minimum,

portions of the declaration of Jerome T. Dorfman that are not based on his personal knowledge

and that contain legal arguments and conclusions. (Def. Reply at 2-3.)

       Paragraphs 1 through 6 of Dorfman's declaration restates the procedural history of the case

and the causes of action as alleged in the Verified Amended Complaint, both of which are

presumably based on his personal knowledge and not placed at issue by either the Court or the

parties. (Id. 111] 1-6.) Paragraphs 7 through 9 mainly restate the arguments contained within

Plaintiff's Memorandum of Law. (Id. W 7-9.) While the Couit declines to strike these statements,

the Court will exercise its discretion to disregard these legal arguments and consider them as stated

in Plaintiff' s Memorandum. Black v. Buffalo Meat Serv., Inc., No. 15-CV-49S, 2021 WL 763723,

at *4 (W.D.N.Y. Feb. 26, 2021) (declining to strike attorney declaration but exercising its

discretion to disregard repeated legal arguments contained therein).

       Paragraphs 10 through 11, however, warrant further discussion. In response to Defendants '

arguments, Plaintiff only asserts that the recited facts are within counsel's personal knowledge and

that the declaration does not contain any legal conclusions. (Pl. Reply at ll-12.) This is objectively

false. In his motion for summary judgment, Plaintiff sought for the Court to "strike] [Defendants']

First through Twenty-Second Affirmative Defenses." (Pl. Mot. at 1.) Instead of including his

substantive arguments relating to his motion to strike in his memorandum of law, Plaintiff placed




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all of the arguments on this issue in Dorfman's declaration. These portions of Dorfman's

declaration consist entirely of legal argument and conclusory statements. This includes, for

example, an assertion that the Complaint "plainly" states a cause of action and that mitigation of

damages is inapplicable to a civil rights and defamation action. Moreover, Dorfman's declaration

includes no citations to any case law at all.

       Given that portions of Dorfman's declaration consist entirely of legal argument and legal

conclusions, the Court may properly strike those portions from the record. Elghossain v. 8ankAudi

S.A.L., No. 21CIV2162PGGBCM, 2023 WL 6390160, at *I4 (S.D.N.Y. Sept. 29, 2023) ("A could

may disregard legal arguments improperly set forth in a declaration.") (collecting cases), Fed.

Trade Comm 'n v. Vantage Point Servs., LLC, 266 F. Supp. 3d648, 654 (W.D.N.Y. 2017) (although

declining to strike the attorney affidavit, declining to consider the legal arguments and factual

allegations contained therein), see also Omnipotent Commc'ns, Inc. v. Common Council of City of

Peekskill, 202 F. Supp. 2d 210, 213 (S.D.N.Y. 2002) (citing Wyler v. United States, 725 F.2d 156,

160 (2d Cir.l983)) ("An attorney's affidavit which is not based on personal knowledge of the

relevant facts should be accorded no weight on a motion for summary judgment."). For the reasons

stated below, however, whether the Court strikes the legal arguments and conclusions contained

in Dorfman's declaration is inconsequential. As discussed in further detail below, the Court

dismisses Plaintiff's claims in their entirety and denies Plaintiffs request to strike Defendants'

affirmative defenses as moot. See infra at 21.

       B. The Law of the Case Doctrine

       Plaintiff argues the law of the case doctrine prohibits Defendants from relitigating his civil

rights claims given that the state court granted Plaintiff a preliminary injunction, which Plaintiff

claims constitutes a finding that Defendants violated Plaintiffs civil rights. (Pl. Mem. at 6.) The



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preliminary injunction granted by Judge Schreibman prohibited the District from barring Plaintiff

from participating in graduation ceremonies that were scheduled for that weekend. (Pl. Ex. 2 at

2:4-19.) According to Plaintiff, the Court is bound by the state court's decision because Judge

Schreibman found Plaintiff had a substantial likelihood of success on the merits and there has been

no intervening change in the facts or the law. (Pl. Mem. at 6.)

         A ruling on a temporary or preliminary injunction "does not constitute the law of the case

and will not stop the parties or the court as to the merits of the case." Alharbi v. Miller, 368 F.

Supp. 3d 527, 556 (E.D.N.Y. 2019), ajfd in part, dismissed in part, 829 F. App'x 570 (2d Cir.

2020) (citing Sec. & Exch. Comm'n v. N Am. Research & Dev. Corp., 59 F.R.D. Ill, 113

(S.D.N.Y. 1972)). "This rule stems from the due process requirement that the parties should not

be foreclosed on the merits by a hearing that expressly addressed only preliminary questions, and

at which [the] parties may not have presented their best possible case." Id.

         Plaintiff has not cited any controlling law to the contrary. The two cases cited by Plaintiff

are not within the context of a preliminary injunction.9 (See Pl. Mem. at 6.) Accordingly, the law

of the case doctrine shall not apply here to bar the Court from considering the merits of Plaintiff" s

free speech arguments. Moreover, while it is not clear exactly what facts and arguments

Defendants orally presented before Judge Schreibman. Defendants argue that they have submitted

significant additional evidence, particularly on the issue of disruption. (Def. Reply at 8.) Plaintiff

does not challenge this point, but instead implies it is irrelevant. However, Plaintiff' s assertion that

"there are only two salient facts in this case" establishing a violation of Plaintiff's civil rights is a




9 The two cases cited by Plaintiff are Martin v. City of Cohoes, 37 N.Y.2d 162, 332 N.E.2d 867 (1975) and Erickson
v. Cross Ready Mix, Inc., 98 A.D.3d 717, 950 N.Y.S.2d 175 (2012). In Martin, the New York Court of Appeals held
that the law of the case doctrine has no binding force on appeal. 37 N.Y.2d at 165. InErickson, the state court held
the law of the case doctrine did not bar the Supreme Court from deciding an issue that had not been previously
determined. 98 A.D.3d at 717.


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narrow view of the case at hand. (See P1. Reply at 8.) As further discussed below, the Court must

consider more than the facts that Plaintiff posted a photo on Snapchat and then was disciplined for

doing so. Mahanoy, 141 S. Ct. at 2046-48 (2021) (in determining whether to afford a cheerleader's

speech First Amendment protection, the court considered the content of the speech, the context of

the speech, and the school's interest in regulating the speech).

       Finally, the Court notes that Judge Schreibman himself acknowledged that "the Court

clearly would prefer to have had the opportunity to digest the parties' submissions, answers to the

Coult's questions and the applicable law," particularly considering that Mahoney Area Sch. Dist.

V. 8.L. by & through Levy, 141 S. Ct. 2038 (2021) had been decided only days prior. The Court

has had the privilege to thoroughly consider the parties' arguments and the controlling legal

precedent, and therefore addresses Plaintiff' s First Amendment claim on its merits.

       C. First Amendment Speech

           a. Applicable Law

       "Students do not shed their constitutional rights to freedom of speech or expression at the

schoolhouse gate, however, the constitutional rights of students in public school are not

automatically coextensive with the rights of adults in other settings." Cox v. Warwick Valley Cent.

Sch. Dist., 654 F.3d 267, 272 (2d Cir. 2011) (cleaned up), The Supreme Court has made it clear

that "courts must apply the First Amendment in light of the special characteristics of the school

environment." Mahanoy Area Sch. Dist., 141 S. Ct. at 2044 (citation omitted).

       Under Tinker, "[s]tudent speech may be curtailed if the speech will 'materially disrupts

classwork or involves substantial disorder or invasion of the rights of others."' Cuff ex rel. B. C. v.

Valley Cent. Sch. Dist., 677 F.3d 109, 112 (2d Cir. 2012) (citing Tinker v. Des Moines Indep. Cmly.

Sch. Dist., 393 U.S. 503, 513 (1969)) Courts recognize that the administrators should be given




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leeway to address any potential disruption before it manifests itself. See Wood v. Strickland, 420

U.S. 308, 326, 95 S. Ct. 992, 43 L.Ed.2d 214 (1975) ("it is not the role of the federal courts to set

aside decision of school administrators which the court may view as lacking a basis in wisdom or

compassion."); Doninger v. Nie/10       527 F.3d 41, 51 (Zd Cir. 2008) ("[Plaintiff"s] argument is

misguided insofar as it implies that Tinker requires a showing of actual disruption to justify a

restraint on student speech"), DeFabio v. E. Hampton Union Free Sch. Dist., 658 F.Supp.2d 461,

481 (E.D.N.Y. 2009), aff'd, 623 F.3d 71 (2d Cir. 2010), cert. denied, 2011 U.s. LEXIS 1809 (Feb.

28, 2011), Levine v. Blaine Sch. Dist., 257 F.3d 981, 989 (9th Cir. 2001) ("Tinker does not require

school officials to wait until disruption actually occurs before they may act.").

        Whether the speech occurred off school grounds is relevant, though not dispositive.

Mahanoy, 141 S. Ct. at 2045. While the Court afforded First Amendment protection to a

cheerleader's off-campus speech decrying her rejection from the varsity cheerleading squad, it

explicitly disagreed with the Third Circuit's conclusion that the Tinker standard did not apply to

speech occurring off school grounds. Id. at 2044-45. When speech occurs off campus, "the leeway

the First Amendment grants to schools in light of their special characteristics is diminished." Id.

at 2046. That said, "[t]he school's regulatory interests remain significant in some off-campus

circumstances." Id. at 2045.

            b. Material Dispute ofFaez

        At the outset, the Court finds there is no dispute of material fact. The parties do not dispute

that there were clear threats to Plaintiff and the other students' safety-Plaintiff received death

threats after he posted the photos and Plaintiff and the other students involved were told not to

come to school the following day due to concerns for their safety (Def. 56.1 111128, 94.) While

Plaintiff steadfastly denies a "substantial" disruption to the school after the photos circulated social




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media, the following key events are undisputed: high school staff and teachers discussed the social

media posts in their classrooms, multiple staff members approached district administrators

regarding how the District planned to respond to the unrest created by the photos, the

administrative team planned and coordinated an assembly for students in grades 7 through 12 to

the address the photos, school counselors made themselves available for students who needed

counseling in relation to the photos, after the assembly, students held a planned demonstration to

express their disagreement with the photos and the photos' connotations, after the demonstration,

students engaged in further discussions about the photos, racism, insensitivity, and George Floyd,

state trooper and law enforcement officers from the Sheriff's Department remained on school

grounds throughout the day, Superintendent Evans issued a statement to the school community,

and there were various media requests to the District regarding the photos. 10 (Id. W 96-100, 104-

109.)

         Thus, the parties only dispute whether these events that resulted from Plaintiff's off-

campus speech constitute a sufficient "material disruption" so that it was appropriate for the school

to take disciplinary action against Plaintiff. Defendants argue that they did not violate Plaintiff' s

First Amendment rights because the disruption caused by the photos "was so overwhelming and

severe that it grounded the regular school day to a halt" sufficient to satisfy the Tinker standard.

(Def. Mem. at 8-9.) Plaintiff challenges Defendants' contention that Plaintiffs actions

"substantially disrupted" the school day and argues that Plaintiff's actions bear no nexus to the

school at all. (Pl. Mem. at 4-6.)




10 Again, in response to many of these statements in Defendants' 56.1, Plaintiff indicates he either "has no personal
knowledge" to admit or deny the statement or "neither admits or denies this statement and defers to what
[D]efendants' witnesses testify to at trial, subject to cross-examination." (See Pl. 56.1 Resp. 111196-113.) As
discussed above, the Court deems these statements admitted. Blackman, 817 F.Supp.2d at 328 n.42 ("56.l statements
not explicitly denied by plaintiff are deemed admitted.") (citation omitted).


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           c. Substantial Disruption

        In applying Tinker, the Second Circuit has held that "the relevant inquiry is whether the

record demonstrates facts which might reasonably have led school authorities to forecast

substantial disruption of or material interference with school activities." Cuff ex rel. B. C. v. Valley

Cent. Sch. Dist., 677 F.3d 109, 113 (2d Cir. 2012) (quoting DeFabio v. E. Hampton Union Free

Sch. Dist., 623 F.3d 71, 78 (2d Cir.2010)) (cleaned up), The standard is not "actual disruption" but

rather "whether school officials might reasonably portend disruption from the student expression

at issue." Id. at 113 (citing Doninger, 527 F.3d at 51) (internal quotation marks omitted). Finally,

"[t]he test is an objective one, focusing on the reasonableness of the school administration's

response, not on the intent of the student." Cut 677 F.3d at 113 (collecting cases).

        First, Defendants reasonably foretold a substantial disruption given the barrage of emails

they received the night the photo was posted from students and community members alike. See

Doninger, 642 F.3d at 348-49 (school officials reasonably concluded student's blog post was

potentially disruptive where controversy surrounding the subj et of the blogpost "already resulted

in a deluge of phone calls and emails, several disrupted schedules, and many upset students" and

the disruption continued the next day as upset students met with district personnel to resolve the

controversy). This is further supported by the explicit call to action in the emails that demanded a

response from the District. Their apprehension of the disturbance potentially caused by the photo

is also evidenced by their decision to direct the Plaintiff and the other students involved not to

attend school the next day.

       Second, Defendants have also established actual disruption occurred. Here, the facts are

distinguishable from Mahanoy, in which the Court found "no evidence in the record of the sort of

'substantial disruption' of a school activity or a threatened harm to the rights of others that might




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justify the school's action." 1341 S. Ct. 2047. The events following the posting of the photos

amounted to more than merely a "buzz" in the building. (See Pl. Mem. at 2.) The record establishes

that, despite Plaintiff" s unwillingness to concede as such, the photos caused a quick and emotional

response from students who deemed them inappropriate and offensive and felt that the photos

made them feel unsafe and uncomfortable. (See Def Exs. M-P, R-T, Y.) The following day at

school, students continued to discuss the photos both during and between class, and students even

planned a protest in response to the photos, which they ultimately carried out by kneeling in the

gymnasium for nine minutes to honor George Floyd. (Def. 56.1 111] 98, 105, Student A Tr. 74:11-

16.)

        Considering these actions taken by the students in response to the photos, the Court further

disagrees with Plaintiff that the assembly and discussions in classrooms regarding the photos, its

connotations, and George Floyd as a "choice" on behalf of Defendants. (See Pl. Reply at 5-6.) As

Judge Schreibman put it, "our public schools have an obligation to teach students antiracism, to be

antiracist, and to engage in antiracist conduct." (Pl. EX. 2 at 4:3-5.) In providing students the

opportunity and space to discuss the photos, its implications, and the topical issue of the murder

of George Floyd and police brutality, the District directly served this purpose.

        Plaintiffs strongest argument is that only the response to the photos, and not the photos

themselves, had a nexus to the school as they did not occur on school grounds and was not posted

on any website created or sanctioned by the School District. (Pl. Mem. at 10-11, Pl. 56.1 11 7.)

However, the Court finds that when the impact of a student's speech spills into school grounds in

a manner so instantaneous and significant, the speech falls outside of the First Amendment's

ordinary protection. Compare Mahanoy, 594 U.S. at 2047-48 (no substantial disruption where

"discussion of the matter took, at most, 5 to 10 minutes of an Algebra class for just a couple days,




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and that some members of the cheerleading team were upset about the content of the student's

snapchats.") (citation and internal quotation marks omitted), JS. ex rel. Snyder v. Blue Mountain

Sch. Dist., 650 F.3d 915, 929 (3d Cir. 2011) (reversing and remanding district court judgment

where school officials could not reasonably forecast substantial disruption and where "beyond

general rumblings, a few minutes of talking in class, and some officials rearranging their

schedules," no substantial disruption occurred). As Defendants put it, Plaintiff' s speech "created a

situation that the District had a 'duty to address" which created a nexus to the school. (Def. Reply

at 8.)

          The District has an interest in maintaining order within its schools, promoting tolerance

and respect, and ensuring students feel comfortable and secure within the school environment.

Accordingly, the Court finds not only that District personnel reasonably portended a substantial

disruption given the response to the photos the same night they were posted, but also that

Defendants have established actual disruption based on the events occurring at the school the day

after the photo was posted. Accordingly, the Couit finds Defendants did not infringe on Plaintiff' s

First Amendment free speech rights when they disciplined Plaintiff.

          D. Plaintiff's State Law Defamation Claim

          Defendants argue that the Court should dismiss Plaintiff's state law defamation claims

because Plaintiff failed to comply with the Notice of Claim requirement. (Def. Mem. at 12-13.) In

response, Plaintiff does not deny that the Notice of Claim requirement applies here or that he failed

to file one. (Pl. Reply at 9.) Instead, Plaintiff argues Defendants' counsel "took advantage" of

Plaintiff which caused him to miss the 90-day deadline. (Id.) Accordingly, Plaintiff requests the

Court reserve its decision on his state law defamation claim to permit him to move to file a late

notice to claim, without any prejudice to Defendants.




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        Defendants removed the action to this Court on July 13, 2021 and sought an extension of

time to respond to the Complaint on July 20, 2021. (Notice of Removal at 3, Stem Decl. 115, see

also ECF No. 3.) Plaintiff's defamation claim accrued when Superintendent Evans made the

allegedly defamatory statements on April 20, 2021. (Pl. 56.1 113.) The deadline for Plaintiff to file

a notice of claim was therefore July 19, 2021. See N.Y. Educ. Law § 3813(2) ("[N]o action

founded upon tort shall be maintained against [the board of education] ... unless a notice of claim

shall have been made and served in compliance with section fifty-e of the general municipal law."),

N.Y. Gen. Mun. Law § 50-e (providing that a notice of claim must be filed "within ninety days

after the claim arises."). This is only days before Defendants removed the case to federal court and

before Defendants sought an extension of time for the deadline to respond to the Complaint.

        Regardless, Plaintiff should have been prepared to comply with the notice of claim

requirement before being made aware of it in Defendants' affirmative defenses. Plaintiff counsel's

unawareness of the law is no defense. Gaston v. New York City Dep'z ofHeaIz/1 009 of ChiefMed.

Exam'r, 432 F. Supp. 2d 321, 326 (S.D.N.Y. 2006) ("[I]gnorance of the law is not an adequate

excuse for failure to file a notice of claim.").

        Moreover, Plaintiff also failed to timely file a late notice of claim within the one-year and

ninety-day period of limitations, or by July 19, 2022. Instead, Plaintiff inserted his request for

leave to file a late notice of claim in his Reply Memorandum of Law filed in June 2023. (See Pl.

Reply.) Given that Plaintiff could have cured the procedural deficiency to save his defamation

claim and only sought to do so well after the fact, the Court denies Plaintiff's motion for leave to

file a late notice of claim.

        Plaintiff has failed to file a notice of claim as well as a late notice of claim, and the Court

denies his request to do so. Accordingly, Plaintiff" s defamation claim is dismissed.




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         E. Plaintiff's Motion to Strike Defendants' Affirmative Defenses

         Having granted Defendants' motion for summary judgment and dismissing Plaintiffs

claims in their entirety,11 the Court denies Plaintiff"s motion to strike Defendants' affirmative

defenses as moot.12 Anhui Konka Green Lighting Co. v. Green Logic LED Elec. Supply, Inc., 625

F. Supp. 3d 269, 291 (S.D.N.Y. 2022), reconsideration denied,No. 18-CV-12255-LTS-KHP,

2022 WL 4484515 (S.D.N.Y. Sept. 27, 2022) (denying motion to strike affirmative defense to

quantum meruit claim as moot because court dismissed plaintiff's quantum meruit claim).

                                                  CONCLUSION

         For the foregoing reasons, the Defendants' motion for summary judgment is granted and

Plaintiff's cross-motion for partial summary judgment is denied. Plaintiffs causes of action are

dismissed in their entirety.

         The Clerk of Court is respectfully directed to terminate the motions at ECF Nos. 58 and

63, to enter judgment in favor of the Defendants, and to terminate the action.

Dated:     April 5, 2024                                                  SO ORDERED:
           White Plains, New York
                                                                                              _.-."

                                                                                               -II*
                                                                                                      ll |

                                                                    NELSON s. RQMAN
                                                                  United States District Judge




11 Defendants also argue that all claims against Su erintendent Evans should be dismissed.as du licative of the
claims against the District. (Def. Mem. at 19-20.) lgecause the Court dismisses all of Plalntlffls cl)alms, the Court
need not address this argument.
12 Even if the Court were to consider Plaintiff's motion on its merits, the Court would deny it. "Motions to strike
affirmative defenses under Rule l2(f) are disfavored, and the standard for a plaintiff to prevail is demanding."
Trustees of New York City Dist. Council of Carpenters Pension Fund, Welfare Fund, Annuity Fund, &
Apprenticesnzp, Journeyman Retraining, Educ. & Indus. Fund v. MC.F. Assocs., Inc., 530 F. Supp. 3d 460, 464
(S.D.N.Y. 2021) (citation omitted). Plaintiff included its arguments on its motion to strike in an attorney declaration,
rather than its Memorandum of Law. (See Dorfman Decl. 'W 10-20.) Those arguments failed to cite to the standard
for a motion to strike, to cite any supporting case law, and to include sufficient arguments for the Court to find
Plaintiff satisfied the high standard.


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             -x
CASE LEROY,

                                Plaintiff,
                -against-                                               21 CIVIL 6008 (NSR)

                                                                           JUDGMENT
LIVINGSTON MANOR CENTRAL SCHOOL
DISTRICT and JOHN P. EVANS, in his capacity as
Superintendent of Schools of Livingston Manor
Central School District,

                                Defendants.
                                                             -x


        It is hereby ORDERED, ADJUDGED AND DECREED : That for the reasons

stated in the Court's Opinion & Order dated April 5, 2024, the Defendants' motion for summary

judgment is granted and Plaintiff's cross-motion for partial summary judgment is denied. Plaintiffs

causes of action are dismissed in their entirety, accordingly, the case is closed.

Dated: New York, New York

         April 8, 2024
                                                                    RUBY J. KRAJICK

                                                                      Clerk of Court

                                                       BY:                 {YE&*"Q@

                                                                        Deputy Clerk
